Case: 2:17-cv-01151-JLG-EPD Doc #: 99-1 Filed: 03/31/20 Page: 1 of 44 PAGEID #: 1300
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    Case: 2:17-cv-01151-JLG-EPD Doc #: 99-1 Filed: 03/31/20 Page: 3 of 44 PAGEID #: 1302
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Pre-Cmsii Actions
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                                 03   •   Ckahcii.tj Lanes             09   •   LEavIhS TpaFFic L*n£                                                           17 < V^CEKIIlS
 99 - UfitNCWN
                                 04   -   OvEsrAMI.iVPAiSlNC           10   ■   Parked                                                                         ID - PusHiLC Vehicle
                                 35   -   MaHIIO [YMHTTuiif.           11   •   SLav/lHOOSSTORREDIwT'AfRlC                                                     19 - AppCoachihc or Lsaviiig Vehicle
                                 05   -   MAKJIlC L:FlTl|4li           12   ■   OpiveplEss                                                                     2D - SrAiioiHC


COKTMOUTIM Cipcuustai.'ce;                                                                                                                                                                                                VEmiciE DSPtcTs
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    PfOk'AEP                     MoT£l?JST                                                                                                                                                                                               01 - T'jSII SIOhaU

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                                  02 • FalLlJAf TO Y|£L0                             12 • hiPRDPgr STasi Frou Pa.tkEc Posiriori                             23 V luRCSRSR Cscssci2                                                       03 • Tail Ui'PS
                                  03 • SpH F.eO L'eXT                                13 • STOPPiO CR PaRkeU luBSAiu-                                        24 - OnTias                                                                  04 - E?A«j£S
    ScCOHdApy                     04 - Fan Stop E«h                                  14 - CpETAniiG Vehicle hi Meclicent P/AiritR                           26 • LvLNS AhVsR iLLECALlErill Roaoviav                                      05 - Stesriuc
                                  CS - ExCEEUsCi S?££C Lliiil                        1:' - SweSyinS T» Aiw lOvE T9 Ex-eeiim. Cji.tinoiis)                   2b • Faill'CETo 'I'lELC RightopWay                                           06 - Tl«£ BlCthIuT
                                                                                                                                                                                                                                         07 • vVCPlI 0> SlICh n»£i

     aq
                                  06 - Ull-pR£ SP££C                                 16 - Wren: SI0E/V/.EEI.5 Way                                           27 - Not Visible (Oa;k CuTHiNsi
                                  0? - 1h.p»:P£t.TuM                                 17 - Failues 10 CeuTscL                                                2a * IliaTEHTrUE                                                             09 - T»AlLEn EOLIPIIEHTDifECTIUi
                                  09 - Li/T 0' C£llT£i                               19 • ViElDV ObstCuctioh                                                29 • FAiti-st TO Obey Tsa*»ic Signs                                          09 - Mctc«Twu6i£
                                  Gy - F3oJlu;£3 Tec Clcs-ly/ACDA                    19 - Cpesaiikc OcpslIive Brjirmeht                                          ,‘S IS valsA3p"icbs                                                     10 • Dhaei-5 rp.iu P»i:p.Ac:;j£iit
                                  10 - ItiPSCPsT lAlie Cha iIE                       20- L»ao Shihthic/Faujiic/5»illi«g                                     30 - Wtcus Sisc or the Roac                                                  11 - CTO£t D£P£C7J
                                           /pAliiNo/Off Ri*:                         21 • Cthe- Ilirrorcr Acttoh                                            31 • Ctiier Noii-LSoToeisrAcncu
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Shouei.ce op EvehTs
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                 ay                   Event ^
           I          Pppspr.'^ Ypn'^i p         DPiircT h^fiT Futp
                                                                                                                   25 - IUPaCTATTEHUaTCR/CRaSn CjSiiiCh          35- MEDIati CaElE BaHPiEA                     41 - OTHEP post. Pule          4S - TP££
    14 • PEuESTPlAii                                           21 • PaSXEo MorON Vehicle                           26 - BHhiOE OvSSH£Aj STfivCTjUi               34- UlEOlAn GuaAIMIaIl BaCHIEA                     OP SUPPCAT                49 - Pipe Hvcpaht
    15 - PfOAlCYCU                                            22- Work ZoYB MAiiirE.'iAiicE EcuiHMcriT             27- BriOCE Pi£S 5* AfluTugir:                 55- UcOlAM CotCrETE GaPEIER                   42 • CuiVEfiT                  50 - Wopn    Zo i£ MAlnTEnBUCS
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    16- RaIliK/t Vehicle CTeailEngise)                        23 - STBuck Ey .-allIks, Snirfiris Cargo             2B • BPiCiCE PapaPsT                          36 - MEOUhOThE.^ SaPPIEP                      43 • Clue
    17 - AyIijal - Farm                                             91! AhtT’iikC Set im IVoticn bi                29 - Bpidce F.aIl                             37 - Tpafhc Sicn Post                         44 - Ditch                     51 - Wall, SUL'.DlriS,Tu'INEL
    IB - Ahilial- Oeer                                              MoTOc Vehicle                                  30 - GuaPOPailPacc                            3S - Overhead Sicii Poet                      45 - Eijuanhueht               52 - Othep Piped Osjsct
    19 - Aniual - Other                                       24 - Other MovableOejbst                             31 - GuaPOEaIl EhD                            39 - Lismt/Low.iwapies Suppoht                46 - FEHCE
    20 - VorsB Vehicle ih TianEPOKT                                                                                32 - PoPTaEiE BaPPi'P                         40 - Utility Pcle                             47 - WaILPOX
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Ukrr S'eeo                       Posted Sh-ed                TpArric Control
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I      I.^■7l6l                  t£iOi                                      02 - Stop SiCn
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Cf States                                                                   O'l • Tsaffic CICiiAl           10 • Cl'nETPuITKJh BaCPICaOE          16 - IJiT S:Piir!£o                                                         4 - wis:      B - Souiiifc'tsr

^ Estiijlico
                                                                            05 • TSAiriC FLaJ-£»S
                                                                            06 - School Zone
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           Case:
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- V/ ^             s«i,           Unit                                                                                                                                                                            L:i>l Re9»Th*JMSs(

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II Ni/MO£R                                                                                                         06    -       Grain, Chips, Gratcl                        43     - Othcc/Uiiehot/n             D Hit/Skip UmjT

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                    06    -   Q-OVCUC Laps                               3 - GovEg.vuSNT                                         OS   •   Mi'ilVAti                                      17   -   TraCTO.VSEmI'TRaILER                      2a ■ Animal'.vim Gtsev, WAsn.i, $liarev
                    07    ■   SiiauLo:e/P04o:ioc                                                                                 05   •   Spjft UriLiri' Vekicl-                         13   -   TMCTOiI/DCUElE                            25 ■ SIIVCLC/PCDACVCLIST
                    OB    -   Siar.TALA                                                                                          07   •   Pickup                                         13   •   TRaCTiM/TSIRlEJ                          26 • PtOESTtlA.N/StATE!
                    03    -   MetiAN/CMSS'Hi l»UA.ie                                                                             OS   •   Vai,                                           20   •   Other Med/.Heavt Vehicle
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                    10 ■ OtlvcWAT ACCESS                                □ III Cmsrccncy                                          03   -   Motorcycle
                                                                          RrsrcASC
                    11 . SHARta-Usf P«H OR Trail                                                                                 10   -   MOTOSHIJ ElCfCLE
                    12 • Noi(-Ts*fpKWAT Area                                                                                     11   -   5«0VULM9:if,’AlV                                n Has HM Placard
                    33 - OfKEWVlH.MOW'J                                                                                          12   -   Other PASsEKasR Vehille
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Special Fui.rreft                  fjo-je                          03 - AuiBULANce             17- Paru Vehicle                                                                               Nsci
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                           3R -    Bus - SC'OOL (Pv(U« CL PaiTA/I) 12 Miutast                  20 - GoLf Cart
                                                                                                                                                               MHCT Area            04    '   RishtSidc          11- Uh3er;asbimic                                              4-    Str'.i;<
                           OS -    Bos -T’ansit                    13   Pcucs                  21 - Traiy
                                                                                                                                                                                    05   •    RchtRear           12 - Laxa/TpAiLEA
                  36 •
                  3? •
                                   Bus ■ Chapter
                                   Bus • Shuttle
                                                                   14 Pueuc Utility
                                                                   15   Ottih  . GcvETfllRcl'T
                                                                                               22 - Other (Ertlaie lh llAiJATAti
                                                                                                                                                                01                  06   '    Reap Ceptsc        12 - TeTA'JA>A.AA(A^)
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                                  03   •   Ci'ANDiMc Laiies           09   -   ueaviro Trapfic Lane                                                                        17   -   VvCiBiliis
                                  04   •   O'/eetakinc/Paslin:        10   •   Parhco                                                                                      16   -   Pusiiliic Vencle
                                  03   •   MahI'15 RiihtTue.’I        11   •   SlWINJ or StOPREO M TRatViC                                                                 13   -   ApmOACMiNG an Leavins Vchiclb
                                  06   •   Mahinc LeirTuEi,.          12   •   Oriverless                                                                                  20   •   Stanoing

CdMTaiiuTTNc Circumstances                                                                                                                                                                                                                Vehicle Defects
  Primary             MofCRljT                                                                                                                                       Mcn-Mctomst
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                                   01 ■      N'CBC                                       11   -                                                                       22 .    None                                                                       02 -   Heat La’jpj

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                                             Failure to Yielj
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  Secdi.-da*!                      04 -      Ran Stcr Sicii                              14   -                                                                       25 .    LyIHO Al.c/a» iLLtiA-.LY IN flcAeVlAV                                      05 -   Steeeini
                                   05 -      clicEEOEO Speed Utitt                       15   -                                                                       26-     Faiiues in'r ISLS PiiHlCA'AlAV                                             06 •   Tie* 6lcv;out
                                   06.       i/i‘iA'£ Speed                              16   -                                                                       27 .    Not Visible iOapy Cio:hIHC1                                                07 -   Wc2H OR SLiclnpcs
                                   07 -      I/4noP£»TmN                                 17   -                                                                       ZS •   Inattentive                                                                 06 -   Trailer Giuirlicnt Cspsctivb
                                   08 -      LtfTOF Center                               16   -                                                                       23-     Failure T3 OuEvTiLAPri; S;iH£                                              09 -   McTs* Trclele
                                                                                                                                                                             /S iinali/Oeticsc
                                   09 •      pOLlov-e; Td5 CuCjEu/ACDA                   19   -                                                                                                                                                          10 -   DiEAOLla Fecm Price Accies'.t
   33 • l/)I>HOY/ll
                                   10 -     IhIpfcpep Lau; CNAtiSE                       20   -                                                                       30 - Wpavs Side cp TilE Roao                                                       11 -   OtHCT CsfECTS
                                            /FAi;i'«/Ofp r;a5                            21   -                                                                       31 - Othsr fJori-MoTCSiST Action

SCOUEhCE Cr GvEiTTS
  1            2                                             i                 5                  b                    01    •   OvSRTUEM/PaLLaVER                          06 - Eolifl-sut Failure                          10 ■ Cuss Mesiau
                                                                                                                       02    -    ru'e/CAPLOSIOII                                 ISl>to Tit"; Raaat cA-upf.        itiI     11 - Cuss Cente: Lins
           First                           Most                                                                        03    -   ImuERSioii                                 C7 - SeRARATiOU OF UNIT!                              Opfosite Diecctisn dp Tcavc.
    Marmflu                        Harmful                                                                             04    -   jACKKriFd                                  05 - ,?/.N OffPorD PiOHT                         12 . OeWNHlLL Rdna'.’/av
      Eveit                          EvEfT                                                                             05    •   CA-RM/ecuiPMeNT Less CB Shift              1)9 - -i/.ii Off PaAo Ljft                       13 • OmsE rlcii.CoLiisiaii
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  Pnii'.Riiiu wiTii PffiBQN i/fhiflE 65 Paj'CT NoYFIt-n
                                                                                                                       25 •       Impact ATTtNu’ATOR/CRAati CuSHiO.’i        35 -     Median Ca6l£ BaRrie'f.                      41 - OthEI Post, Pole         rO - Teee
  14   •   PEJESrUlAM                                         21 • PaRREC MOTUf; VcHlCLd                               26-        BRIOOE CVdltHdAll SmucTuAd                 54-      Median Guardrail 9asRI£R                         OB Support               49 - Fire Htopaut
  15   •   PcJalCtCl£                                         22- Wa.iii ZoTd MAiNTdiiAiicf EcuiHUE'iT                 27-        BRiose Pier cs AsurLiEHT                   55 -     Median Concrete BAERidR                     42 - CuLViiif                 50 - V/ORK Zone Mainte’iance
                                                                                                                                                                                                                                                                     EcuiRMEpn’
  16   -   Raili/ay VEmCie (Tuin.RhtineI                      23 ■ Strucii Br FALiinc, SnIRTinc Carlo                  26 -       BniodE Parapet                             56 -     Ml'CIan Otiie.h Bahriei'                    43 • Curb
  17   -   AkInal- Farm                                            04 AMYTHlNe Sei IN Moiion by a                      29    -   BRIOSE Rail                                 57 -     Traffic Sicii Post                          44 ■ DiiCH                    51 - V/ali, Buuoi;i5,TunnEL
  19   -   ANH’AL-OeEs                                             MoroR Vehicle                                       30    -   SuaRORaILFaCE                               56 -     Overhead Sis'i Post                         45 - EMB/uiKUdiit             52 - Other .“ixed Object
  19   •   AnIwal-OTiiSR                                      24 - OThEe Uovaele Objecf                                31    -   SUARODAlL Ena                               59 -     LKhT/LUminaRisS SuFFgUr                     46 - Fence
  20   •   MinosV£rueL£ij<TRA.’is»»r                                                                                   32    -   PDETaOlE Barrier                            43 -     UflLirT Fw.8                                47 - MailsCu:
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Ur.’ir Speed                       Posted SpfE®             TAAfn: CoNTiOL
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           Case: 2:17-cv-01151-JLG-EPD
           Oct.31.20i8  9:44AM         Doc #: 99-1 Filed: 03/31/20 Page: 8 of 44No,PAGEID
                                                                                    5462  P.#: 1307
 I^HMotorist / Non-Motorist / Occupant                                                                                                                                                              Uo>l fisejsr NuM?es

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 U;ur Nuyacs         Nai,ii; La»t, Fiait, Middle                                                                                                                                                Date of Birth

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 Add^ejj, Cit», SWt, Zif                                                                                                                                                                                          Ct^TaCT PHCK;C- DIC'.USi           CME


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 Axi^E',5, City, State, Zip                                                                                                                                                                                       CanTscr Pnone- itclube asea cwt



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  Injuries
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                                                                                 MwllRIlT
   1*     No I’lJUAY / None R^po^TCP         1 - Not TtvispBcrcB f
   2-     Possible                                                                                                                                                                                                   oo • N«k£ Usrc                         12 - pErLECnvE CwTHtHS
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   3:     Ncb-Imcapacitatinc                                                                                                                                                                                         10 • HcLAirr Uses                      13 . Lisiitvis
                                             2- CMS                               02 - Shouioer BeitOiilv Used                                OO ' Cnlio ResTPAiNT Svsteu- Rcab Faeius
   4 -    iKCAPACIIATmC                                                                                                                                                                                              11 ' BnaTPCTjvE Pads IJssd             Id « Orpen
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  Seatuis PnmoN                                                                                                                                                                                                                        Air Bag Ueaqe
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   02    -   Fackt- Mioole                                                  OB . Tiii|B> Midcile ,                                                           13 ' Taailiub Unit                                                         2-    OcpipYEP Ftoiir
   01    -   FiORT • RiCHT Sice                                           ■ 09 . T>iiRo'. Riokt Side                                                         It ' PiBiNC GM Vehicle Ektsrice (LaHTAacviaC Uai'i)                        2-    OepLOvee Side
   OA    .   Secoiiii • Left Sioe imopwcelc pashyccsi                      10 . Slbepff. ScetjOu Of CaR C1«iicxl                                             IS - tJOii-UoiapisY                                                        4-    OcpLavcD Bdtn FsowSide
   05    -   SEC«m> - VIIAPlE                                              11 - Palsemeca in Other Emldted Cared AkEa                                        lb * OTnER                                                                 2-    NotAppUcabls
   06 •      Sewib- RiQnT Side                                                  INoA-T.*icrM Unit S«n aj a i-K, Pitvpp mn fap)                              00 - UHKHSwn                                                                9> ClEfLOVUENr Unii'IIOLVH
 CfcriDK                          Trapped                                                                            C04D|Y»N
                                                                       Dpchatbi Lkchsc Class                                                                                                                                           AlcdudL/Orub Suspected
  1-     Nor CjEcrcB                1 - NotTiaPPED                        1-   Class A •
                                                                                                                                                                                           5-
                                                                                                                      1.    AspARsiiTVY Normal                                                                                          1’- None
                                                                                                                                                                                           b-
  2-     Totally Ejbctsb            Z- EytpicatePRv                       2-   Class B                                2.    Physical lufAIAMERT                                                                                         2- Ves ■ AicOnDL SuSPEcrcD
  3-     Paitiaiiy Cjcctcd              MectfANiCAi Mfaus                 3-   Class C                                3 .   Emoyioii.l (OtfAEiiEp, A'OKY, 0|STuPS£C>
                                                                                                                                                                                          7- Medications, Oroos, Alcohol                3 - Yes ■ KBO Nor lurAiEED
  4■     Not AfPiicABic             3 • CrroiCATEp tv                     4-   Recular Class iohhiis'D'l              4 -   Iluicss                                                                                                     0- V£S • Djyos'SuSP£a«B
                                        NBii-MeeHAHicAL Meaiis            5-   MC/MDKtD Oply                                                                                                                                            5- YES ■ AlcoholanO Dross SuspEcTEO

 Alcohol TestSyatus                                            'Alcohol TbstTvbc          D«uc Test Status                                                          DRU4 TESTTVPE                ObIvEh OiSTRAcrcD By
   1.    NovcGrvcx                                               L•   Nsiie                 1-      None Given                                                       1 - None                    1 - No OiETRACno* RlPDiTTEO                         b- OtnEP IrlSISETNC VcniCLE
   2•    Test f2ci*usci>                                         2'   Glooo                 2 'R    Te$r H enjsso                                                    2 - BlOoc                   2 - Phone                                          ' 7 * EpVEanal OlSTBacriON
   3-    TestGiveh, CoirTALirHfliRSAMpLE/llHUTAeit               3•   Urine                 3-      TeitGiveh, Contaminatto SawplE/UnuSaUlE                          3 • LifilHc                 3 - T£aiNE/E-NAlL!«C
   4 •   Test Civcm, ftcsuiTC I(hsa(i                            a-   GtCATn                4*      Tesr G(vom, ftcs‘j|.Ti Kwowrt                                    4 - OtHiR                   A - ElEstnonic CauiMuNiCATiCH Device
   5■    Test Given, Pcsults Ubkhown                             3-   Qthes                -5-      TestGiveh, ficsuiTS Uukuevap                                                                 5- Other EilCtpoaic Device
                                                                                                                                                                                                        (NavKaHOH DEnCC, AaPIv, OVDl

UmIt I'Jumdep       Name: Last, First, Mitole                                                                                                                                                                                                                   Gemoep.
                                                                                                                                                                                               Date of Birth
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p\cofiESS, Crrv, State, Zir



Injuries
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LJ_J                                                                                                                                                                                            1 1 1 1 1 1 I 1 1                                                         M - Male
                  L------ r                                                                            -------------------------------------------------------------------------------------
Ado-tess, City, State, Zip
                                                                                                                                                                                                                 CanEACT Phone- ihcluOE area code



Injcimes                                                                                                                                                                                                                                                                      Trap? CD
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Case:
Oct, 31,2:17-cv-01151-JLG-EPD
         2018 9:45AM          Doc #: 99-1 Filed: 03/31/20 Page: 9 of 44No,PAGEID
                                                                           5462  P.#: 1308
                                                                                      6


                                City of Martins Ferry
                                   35 South 5th Street, Martins Ferrj', Ohio 43935


                                Department of Police
OHIOJ^    Phone: 740.633.2121                                                        Fax: 740.633.0634

                                                                                                         M2
    On 2-6-2016 at approx 0032 hours dispatch received a call about a cai’ hitting a
 train Northbound on SR 7 at the railroad crossing behind Nickels Bakeiy. Officers
 arrived on scene at 0033 hours and found a black Chevy Cruz against a Norfolk
  Southern train engine 3313. The railroad crossing lights were,operating. The car,
  OH registration 18 3059, which was a dealer tag for Albert Chevrolet Buick Cadil­
 lac. Driver was identified as Alexandm Wallnian, SSN                     , DOB 10-14-
  1995 who seemed normal and in no distress but was bleeding from the nose area at
 time of our arrival The airbag was deployed. The diiver and passenger of the train
 was identified as Mark Anthony Cziip which was die Engineer and a passenger,
 Michael Gaston was tlie conductor and both employed by Norfolk Soudiem Coip.
 EMS was called and the highway was shut down both ways. Naylor Brothers Tow­
 ing was called to tow the Chevy Cruz. Officers spoke witli all paifies involved witli
 all of diem all stating that the Chevy Cruz was headed Northbound and struck the
 railroad engine as it was crossing SR 7 headed Southeast to the tracks on the East
 side of SR7. Statements were obtained from all involved paities and it was found
 that Ms. Alexandra Wallman was die at Emit pai1y with her being cited for Martins
 Feiry Ord #313.0f Failure to Stop at Flashing lights. Martins Feny EMS checked
 all parties involved with all parties refiisiiig medical transportation to a hospital at
 that time. Mr. Gaston refused to sign die refusal sheet but was witnessed by my­
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   Mr. Drew ADeleanides, which is the Assistant Trainmaster arrived on scene to
 for Norfolk Southern. Address is 200 Walbash Ave, Mingo Junction, OH 43938.
 Phone number 740-457-9705. Mi\ Deleanides cleared the trednto be able to be
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     Case:3 12:17-cv-01151-JLG-EPD
              2018 9:46AM          Doc #: 99-1 Filed: 03/31/20 Page: 10 of 44No,PAGEID
                                                                                 5462 P.#:I1309
                                           City of Martins Ferry
                                                     35 South 5th Street, MaiTins Fcay, Ohio 43935


                                           Department of Police                                                                                     I           >') I
                                                     Chief Of Police John P. McFarland

                     Phone: 740.633.2121                                                                            Fax: 740,633.0634

                                                   VOLUNTARY STATEMENT FORM
Agency Report Numhert /Lr                             Date of Incident: o?~ L~ iC>____ Time of Incident;                                      QO't-

I.                   f\-      (^^LA p         hereby make this voluntary statement to

                                                                                                                               OHiccr(s) Natfli:;

at                      k^f'fr/ptA___ pr..j^- ~J-          at              (oi
                                                                                           on            Tiiiit
                           LocuUon'^                                     ''•''r''


                                                          STATEMENT OF FACTS
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       Signatuva oF WUncss                                          Address ofv/itoess                                                I*ljonc Nijfiibev of Witness
  Case:  2:17-cv-01151-JLG-EPD
   Oct, 31,2013 5:46AM         Doc #: 99-1 Filed: 03/31/20 Page: 11 of 44No,PAGEID
                                                                             5462 P.#: 31310
                                                City of Martins Ferry
                                                       35 South 5th Scieec, Martins Ferry, Ohio 43?35
                                                                                                                                                        riMir/     ■

                                                Department of Police
                                                       Chief Of Police John P. McFarland

                          Phone: 740.633.2121                                                                       Fax: 740.633.0634


                                VOLUNTARY STATEMENT FORM
Agency Report Number: (].P4L ~O}r^^^0^‘3X^ of Incident! _____ Time of Incident: (PU ^3>r^


Tj_/ hrgai.                                     __ hereby make this voluntary statement to                 t             /^%JrpL
                              to A
                 Your Name Printed                                                                             C7             Offi«r(a) Far


             .SP 7                                                 cP' L) r2dll^                on      noi.KC
                             Location                                      Dote                          Tloic


                                                   ,        STATEMENT OF FACTS _
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                                                                                    '5~6"l (r^Hdin ^
                                                                                  !A^fA r^P(y\A-^ , Ltl/                 (s ^




     Signatui-c of witness                                            Addi'tss of Witness                                             Piione Nuftibcr of Witness
  Case:  2:17-cv-01151-JLG-EPD
   Oct. 31.2013 9:46AM         Doc #: 99-1 Filed: 03/31/20 Page: 12 of 44No.PAGEID
                                                                             5462 P.#: 91311

        K\in
                                              City of Martins Ferry
                                                    35 Soulh 5th Street, Mnitins Perry, Ohio 43935


K;::«f                                        Department              of Police                                                         i V-v-'         I
                                                Chief Of Police John P. McFarland
                                                                                                                                        I               I
                        Phone; 740.633.2121                                                                     Fax: 740.633.0634

                                                 VOLUNTARY STATEMENT FORM
Agency Report Number: jL - Q/:2 C ~ Qo2                Date of Incident;               rJ~ U'(L^          Time of Incident:         00 '.6^

1. ■                                            hereby make this voluntary statement to                 J'" 'A"~ VV\ \ A-lT         l^iU
                 Youf Name Printed                                                                            '\j       OEficcr(s) Naiue J
       V ..xrAr^t.r>‘-N    A- 0/-O.A                      -
at \; \^ aVVv-v"> V
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                                                         STATEMENT OF FACTS

               V-Jco             t. A 7   (\,j\ (X ^DaA          '                      A- ■>   i-                  = j^-vV\KcJtUV jivf^
         A V-                                                                             Vocj-AX                         o( QlOc^^-igs
  Oti^~) 0/'  Cxk:<>cj,'                      "g4l vV-ph                         IT"            - ri^UL                       f ,
 ^             A Uc/^-^tA:VA                                                     k-^^r- i"n 1.[ i'\'4                               Hc<_\A




         Signature ot Witness                                        Address of Witness                                       Phone Number ot Witness
Case:
 Oct, 31,2:17-cv-01151-JLG-EPD
           20 1 3 9:4?AM       Doc #: 99-1 Filed: 03/31/20 Page: 13 of 44No.PAGEID
                                                                             5462 P.#: 10
                                                                                       1312

Mi
                                 City of Martins Ferry
                                    35 South 5th Street. Martins Feny, Ohio 43935


isliUi]'   Phone; 740.633.2121
                                 Department of Police                               Fax: 740,633.0634




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Case:
 Oct. 31.2:17-cv-01151-JLG-EPD
           2018 0:47AM         Doc #: 99-1 Filed: 03/31/20 Page: 14 of 44No.PAGEID
                                                                             5462 P #: 1313


                                 City of Martins Ferry
                                    35 Soulh 5th Street, Martins Ferr>'. Ohio 43935

PUQS
           Phone: 740.633.2121
                                 Department of Police                                 Fax: 740.633,0634




  tow the vehicle off the highway. Ms. Wallman went with the tow truck. Wil Bur­
  gess then showed up on scene for Norfolk Southern and advised tiiere will be a
  download of the camera available in the near fiitare that MFPD can have a copy of.
  This camera is located in the front top of the train. His contact number was given
  as 412-400-0934. The engine was dien taken to the East side of the highway. At
  tills time tire railroad crossing lights were tuj’ned off and all luiits were cleared after
  traffic was found to be flowing normal on SR 7.

  Norfolk Southern Coip.
  3 Commercial Place
  Norfolk, VA. 23510
  Ph.# 877-201-4265
  Fax# 757-446-5416

  Engineer of Train 3313                 Conductor of Train 3313
  Mcirk Anthony Czup                     Michael Keith Gaston
  75 Ridgeland Dr.                       551 Gaston Rd
  Toronto, OH 43964                      Weirton, WV. 26062
  OLN.RS133305                            WVOLNE592389
  Ph# 740-275-2165                        Ph# 304-670-8049
  Ph# 740-275=^6657

  Ofc. West Repoifrng
  Ofc. Ceccanese Assisting
  Sgt. Murphy OIC
   Case: 2:17-cv-01151-JLG-EPD Doc #: 99-1 Filed: 03/31/20 Page: 15 of 44 PAGEID #: 1314




                                     NORFOLK                                                                                Form CT25A (Rev 10/01)
                             ___ *   SOOTHERS                                                                               ftem n 247050


                         STATEMENT OF TRAIN AND ENGINE CREWS
                                                                                                    g accidents in which
This form is to be used by all members of train and engine crews in rendering statements concernin      members and
                                                                        t must be completed by all crew
trains or engines are involved with vehicles or outsiders. The statemen
promptly mailed or delivered to Division Superintendent.            MARK ALL THAT APPLY,

                                                 <7fw                    Division                    A      MR (inch Prefix) 3f- )
Place of accident:
Date of accident: P'L- l <o                i               .20                      Time /X                          [TTfa.m          □ P-m
                               Speed of Train    p __ mph                    Direction:        CUn          j " js      |     | E
Train No.
                     QTiry           QRain Qs now                    |     [Sleet / Freezing Rain / Hail                [~]Fog p^fciear
Weather:
                              Pf Yes    Q No                   Bell Ringing?          fuK Yes Q                 No
Was horn sounded?
                                       H Yes      □ No                       O7 Bright □                 Dim
Was headlight burning?
                              {pfYes □ No                                                  Engine:       [^J Shoving [i3f Pulling
Were ditchlights operating?
Damage to Railway equipment:____________________
                                     f-ruTuS.     Year                              License No.                             State
Make of Vehicle.
                                                                                         Speed           L-jO               mph
Direction of Vehicle :           SN      OS       □ E □ W
Driver________________________                   Age                            Address
Owner_____________                                     Address
Other occupants, ages, addresses



Damage to Vehicle:    EnmL ejui
                             Q]Yes      \p{ Ncrh  T-LjEatalitie5? LU Yes Q7 No
Were there any injuries?
                                               T)
Type of crossing warnings?      [P Gates fTp Flashers O Stop Sign P] Crossbucks I j Other

Flashers / Gates Operating?      fpYes I I No
                                                                           Pf7 R Side! I L Side
Where were you at the time of the incident? pjf Lead Unit P] Trailing Unit
                                        P] Long hood                     PT" Short hood
Which hood was forward?
                         l    I Going Straight         I       I    Failed To Stop             fTpAccelerated Through Crossing
MOTORIST:
                                                           I        | Passed Other Vehicles                      i   I Went Around Gates
          j    | Stopped, then Proceeded
                             Q Stopped On Crossing                   P] Other

                                        □ Walking/Standing Outside Rails                                              P] Sitting on Rail
TRESPASSER/PEDESTRiAN:
              P]   Walking/Standing/Squatting Inside Rails                      P]     Lying inside/Outside Rails
                                                                        ___________
Names and addresses of outside v/itnesses:______________ ______________

                                                           P] No               [<#~| State         PP County ppCity PP NS
Did police investigate accident?          0Yes
Signature 'dddfAji                                                 Occupation                    /*-         Age YP
                                                                                      P-         &              . 20/^
Print Name /2li£&Bxd-                                              ____  Date

                                                                                                                              § DEFENDANT’S DEPOSITION
                                                                               EXHIBIT                                        2
                                                                                                                              CO
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Case: 2:17-cv-01151-JLG-EPD Doc #: 99-1 Filed: 03/31/20 Page: 16 of 44 PAGEID #: 1315


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  .Oct. 31.2018 9:46AM                                                                                          No, 5462       P, 9
                                         City of Martins Ferry                                                                    wsm
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                                                                                                                                    nj-liH           t.
                                               35 South 5th Street, Martins Perry, Ohio 43935

                                         Department of Police                                                                          r
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                                                                                                                                               V"]
                                               Chief Of Police John P. McFarland
iwjioii
                   Phone: 740.633.2121                                                                   Fax: 740.633.0634

                                           VOLUNTARY STATEMENT FORM
Agency Report Number: jU, - [}]2Joi 4)o?          Date of Incident:            '2~ Q>~ IL            Time of Incident:         00

r. A,\-<L,y WWcy^                         hereby make this voluntary statement to                'y^fVwurpW^
           Yuiir Name Printed                                                                            V
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                                                     STATEMENT OF FACTS

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     Signature ot¥/itneE£                                      Address of Witness                                       Thane Number of Witness


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Case: 2:17-cv-01151-JLG-EPD Doc #: 99-1 Filed: 03/31/20 Page: 18 of 44 PAGEID #: 1317




                                                                EXHIBIT
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Case: 2:17-cv-01151-JLG-EPD Doc #: 99-1 Filed: 03/31/20 Page: 19 of 44 PAGEID #: 1318
Case: 2:17-cv-01151-JLG-EPD Doc #: 99-1 Filed: 03/31/20 Page: 20 of 44 PAGEID #: 1319
                          Case: 2:17-cv-01151-JLG-EPD Doc #: 99-1 Filed: 03/31/20 Page: 21 of 44 PAGEID #: 1320



Emp Name               Emp ID     Rule      Start Date/Time          End Date/Time
                                                                               Train ID Start MP   End MP   Handling            Supervisor(s)                      Check Type   Type   Cert.   Check Group       Location
Hall, Daniel R         0105127    BANNER    2015-03-20 2:35:00 PM    2015-03-20C93C520
                                                                                3:00:00 PMRO20     RO20     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Hall, Daniel R         0105127    SP5-A     2015-03-20 2:35:00 PM    2015-03-20C93C520
                                                                                3:00:00 PMRO20     RO20     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Hall, Daniel R         0105127    SP5-B-2   2015-03-20 2:35:00 PM    2015-03-20C93C520
                                                                                3:00:00 PMRO20     RO20     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Boyd, Zane T           0361186    BANNER    2015-03-20 2:35:00 PM    2015-03-20C93C520
                                                                                3:00:00 PMRO20     RO20     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Boyd, Zane T           0361186    SP5-A     2015-03-20 2:35:00 PM    2015-03-20C93C520
                                                                                3:00:00 PMRO20     RO20     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Boyd, Zane T           0361186    SP5-B-2   2015-03-20 2:35:00 PM    2015-03-20C93C520
                                                                                3:00:00 PMRO20     RO20     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Hall, Daniel R         0105127    1         2015-03-20 2:35:00 PM    2015-03-20C93C520
                                                                                3:10:00 PMRO20     RO20     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Hall, Daniel R         0105127    5         2015-03-20 2:35:00 PM    2015-03-20C93C520
                                                                                3:10:00 PMRO20     RO20     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Hall, Daniel R         0105127    G         2015-03-20 2:35:00 PM    2015-03-20C93C520
                                                                                3:10:00 PMRO20     RO20     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Hall, Daniel R         0105127    529       2015-03-20 2:35:00 PM    2015-03-20C93C520
                                                                                3:10:00 PMRO20     RO20     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Hall, Daniel R         0105127    531       2015-03-20 2:35:00 PM    2015-03-20C93C520
                                                                                3:10:00 PMRO20     RO20     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Boyd, Zane T           0361186    1         2015-03-20 2:35:00 PM    2015-03-20C93C520
                                                                                3:10:00 PMRO20     RO20     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Boyd, Zane T           0361186    5         2015-03-20 2:35:00 PM    2015-03-20C93C520
                                                                                3:10:00 PMRO20     RO20     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Boyd, Zane T           0361186    G         2015-03-20 2:35:00 PM    2015-03-20C93C520
                                                                                3:10:00 PMRO20     RO20     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Boyd, Zane T           0361186    529       2015-03-20 2:35:00 PM    2015-03-20C93C520
                                                                                3:10:00 PMRO20     RO20     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Boyd, Zane T           0361186    531       2015-03-20 2:35:00 PM    2015-03-20C93C520
                                                                                3:10:00 PMRO20     RO20     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Vizyak, Mark A         0650552    1         2015-03-20 2:05:00 PM    2015-03-20YM
                                                                                2:15:00 PMRO21     RO21     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Vizyak, Mark A         0650552    5         2015-03-20 2:05:00 PM    2015-03-20YM
                                                                                2:15:00 PMRO21     RO21     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Vizyak, Mark A         0650552    57        2015-03-20 2:05:00 PM    2015-03-20YM
                                                                                2:15:00 PMRO21     RO21     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Vizyak, Mark A         0650552    58        2015-03-20 2:05:00 PM    2015-03-20YM
                                                                                2:15:00 PMRO21     RO21     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Vizyak, Mark A         0650552    59        2015-03-20 2:05:00 PM    2015-03-20YM
                                                                                2:15:00 PMRO21     RO21     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Vizyak, Mark A         0650552    60        2015-03-20 2:05:00 PM    2015-03-20YM
                                                                                2:15:00 PMRO21     RO21     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Vizyak, Mark A         0650552    G         2015-03-20 2:05:00 PM    2015-03-20YM
                                                                                2:15:00 PMRO21     RO21     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Czup, Mark A           0767216    1         2015-03-20 11:30:00 AM   2015-03-20C10C520
                                                                                12:15:00 PM
                                                                                          RD11     RD11     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Czup, Mark A           0767216    22D2      2015-03-20 11:30:00 AM   2015-03-20C10C520
                                                                                12:15:00 PM
                                                                                          RD11     RD11     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Czup, Mark A           0767216    22D3      2015-03-20 11:30:00 AM   2015-03-20C10C520
                                                                                12:15:00 PM
                                                                                          RD11     RD11     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Czup, Mark A           0767216    185       2015-03-20 11:30:00 AM   2015-03-20C10C520
                                                                                12:15:00 PM
                                                                                          RD11     RD11     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Crockett, Gary S       0647640    1         2015-03-20 11:30:00 AM   2015-03-20C10C520
                                                                                12:15:00 PM
                                                                                          RD11     RD11     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Crockett, Gary S       0647640    22D2      2015-03-20 11:30:00 AM   2015-03-20C10C520
                                                                                12:15:00 PM
                                                                                          RD11     RD11     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Crockett, Gary S       0647640    22D3      2015-03-20 11:30:00 AM   2015-03-20C10C520
                                                                                12:15:00 PM
                                                                                          RD11     RD11     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Crockett, Gary S       0647640    185       2015-03-20 11:30:00 AM   2015-03-20C10C520
                                                                                12:15:00 PM
                                                                                          RD11     RD11     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Birkhimer, Zachary D   0359772    C103      2015-03-20 11:30:00 AM   2015-03-20C10C520
                                                                                12:15:00 PM
                                                                                          RD11     RD11     Letter of Caution   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Birkhimer, Zachary D   0359772    1         2015-03-20 11:30:00 AM   2015-03-20C10C520
                                                                                12:15:00 PM
                                                                                          RD11     RD11     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Birkhimer, Zachary D   0359772    22D1      2015-03-20 11:30:00 AM   2015-03-20C10C520
                                                                                12:15:00 PM
                                                                                          RD11     RD11     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Birkhimer, Zachary D   0359772    181       2015-03-20 11:30:00 AM   2015-03-20C10C520
                                                                                12:15:00 PM
                                                                                          RD11     RD11     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Birkhimer, Zachary D   0359772    182       2015-03-20 11:30:00 AM   2015-03-20C10C520
                                                                                12:15:00 PM
                                                                                          RD11     RD11     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Birkhimer, Zachary D   0359772    185       2015-03-20 11:30:00 AM   2015-03-20C10C520
                                                                                12:15:00 PM
                                                                                          RD11     RD11     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Birkhimer, Zachary D   0359772    187       2015-03-20 11:30:00 AM   2015-03-20C10C520
                                                                                12:15:00 PM
                                                                                          RD11     RD11     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Birkhimer, Zachary D   0359772    188       2015-03-20 11:30:00 AM   2015-03-20C10C520
                                                                                12:15:00 PM
                                                                                          RD11     RD11     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Birkhimer, Zachary D   0359772    215A      2015-03-20 11:30:00 AM   2015-03-20C10C520
                                                                                12:15:00 PM
                                                                                          RD11     RD11     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Birkhimer, Zachary D   0359772    215B      2015-03-20 11:30:00 AM   2015-03-20C10C520
                                                                                12:15:00 PM
                                                                                          RD11     RD11     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Birkhimer, Zachary D   0359772    216A      2015-03-20 11:30:00 AM   2015-03-20C10C520
                                                                                12:15:00 PM
                                                                                          RD11     RD11     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Birkhimer, Zachary D   0359772    216B      2015-03-20 11:30:00 AM   2015-03-20C10C520
                                                                                12:15:00 PM
                                                                                          RD11     RD11     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Birkhimer, Zachary D   0359772    1040      2015-03-20 11:30:00 AM   2015-03-20C10C520
                                                                                12:15:00 PM
                                                                                          RD11     RD11     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Birkhimer, Zachary D   0359772    1043      2015-03-20 11:30:00 AM   2015-03-20C10C520
                                                                                12:15:00 PM
                                                                                          RD11     RD11     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Birkhimer, Zachary D   0359772    1050      2015-03-20 11:30:00 AM   2015-03-20C10C520
                                                                                12:15:00 PM
                                                                                          RD11     RD11     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Birkhimer, Zachary D   0359772    1050A     2015-03-20 11:30:00 AM   2015-03-20C10C520
                                                                                12:15:00 PM
                                                                                          RD11     RD11     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Birkhimer, Zachary D   0359772    1072      2015-03-20 11:30:00 AM   2015-03-20C10C520
                                                                                12:15:00 PM
                                                                                          RD11     RD11     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Birkhimer, Zachary D   0359772    1100C     2015-03-20 11:30:00 AM   2015-03-20C10C520
                                                                                12:15:00 PM
                                                                                          RD11     RD11     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Birkhimer, Zachary D   0359772    1110B     2015-03-20 11:30:00 AM   2015-03-20C10C520
                                                                                12:15:00 PM
                                                                                          RD11     RD11     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Birkhimer, Zachary D   0359772    1110C     2015-03-20 11:30:00 AM   2015-03-20C10C520
                                                                                12:15:00 PM
                                                                                          RD11     RD11     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Birkhimer, Zachary D   0359772    G         2015-03-20 11:30:00 AM   2015-03-20C10C520
                                                                                12:15:00 PM
                                                                                          RD11     RD11     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Weil Jr, William R     0107038    527       2015-03-20 10:50:00 AM   2015-03-20RWIC
                                                                                11:00:00 AM
                                                                                          RADIO    RADIO    Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Weil Jr, William R     0107038    530       2015-03-20 10:50:00 AM   2015-03-20RWIC
                                                                                11:00:00 AM
                                                                                          RADIO    RADIO    Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Weil Jr, William R     0107038    531       2015-03-20 10:50:00 AM   2015-03-20RWIC
                                                                                11:00:00 AM
                                                                                          RADIO    RADIO    Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Weil Jr, William R     0107038    52        2015-03-20 10:50:00 AM   2015-03-20RWIC
                                                                                11:00:00 AM
                                                                                          RADIO    RADIO    Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Weil Jr, William R     0107038    57        2015-03-20 10:50:00 AM   2015-03-20RWIC
                                                                                11:00:00 AM
                                                                                          RADIO    RADIO    Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Weil Jr, William R     0107038    58        2015-03-20 10:50:00 AM   2015-03-20RWIC
                                                                                11:00:00 AM
                                                                                          RADIO    RADIO    Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Weil Jr, William R     0107038    59        2015-03-20 10:50:00 AM   2015-03-20RWIC
                                                                                11:00:00 AM
                                                                                          RADIO    RADIO    Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Weil Jr, William R     0107038    60        2015-03-20 10:50:00 AM   2015-03-20RWIC
                                                                                11:00:00 AM
                                                                                          RADIO    RADIO    Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Marchbank, Michael R   0209041    529       2015-03-20 10:35:00 AM   2015-03-20DISP
                                                                                10:37:00 AM
                                                                                          RO16     RO16     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Marchbank, Michael R   0209041    52        2015-03-20 10:35:00 AM   2015-03-20DISP
                                                                                10:37:00 AM
                                                                                          RO16     RO16     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Marchbank, Michael R   0209041    57        2015-03-20 10:35:00 AM   2015-03-20DISP
                                                                                10:37:00 AM
                                                                                          RO16     RO16     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Marchbank, Michael R   0209041    58        2015-03-20 10:35:00 AM   2015-03-20DISP
                                                                                10:37:00 AM
                                                                                          RO16     RO16     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Marchbank, Michael R   0209041    59        2015-03-20 10:35:00 AM   2015-03-20DISP
                                                                                10:37:00 AM
                                                                                          RO16     RO16     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Marchbank, Michael R   0209041    60        2015-03-20 10:35:00 AM   2015-03-20DISP
                                                                                10:37:00 AM
                                                                                          RO16     RO16     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Weil Jr, William R     0107038    527       2015-03-20 10:35:00 AM   2015-03-20DISP
                                                                                10:37:00 AM
                                                                                          RO16     RO16     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Weil Jr, William R     0107038    531       2015-03-20 10:35:00 AM   2015-03-20DISP
                                                                                10:37:00 AM
                                                                                          RO16     RO16     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Weil Jr, William R     0107038    52        2015-03-20 10:35:00 AM   2015-03-20DISP
                                                                                10:37:00 AM
                                                                                          RO16     RO16     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Weil Jr, William R     0107038    57        2015-03-20 10:35:00 AM   2015-03-20DISP
                                                                                10:37:00 AM
                                                                                          RO16     RO16     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Weil Jr, William R     0107038    58        2015-03-20 10:35:00 AM   2015-03-20DISP
                                                                                10:37:00 AM
                                                                                          RO16     RO16     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Weil Jr, William R     0107038    59        2015-03-20 10:35:00 AM   2015-03-20DISP
                                                                                10:37:00 AM
                                                                                          RO16     RO16     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Weil Jr, William R     0107038    60        2015-03-20 10:35:00 AM   2015-03-20DISP
                                                                                10:37:00 AM
                                                                                          RO16     RO16     Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Clutter, Mark B        0121633    59        2015-03-20 10:15:00 AM   2015-03-20415C350
                                                                                10:33:00 AM
                                                                                          RO17.5   RO17.5   Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Clutter, Mark B        0121633    60        2015-03-20 10:15:00 AM   2015-03-20415C350
                                                                                10:33:00 AM
                                                                                          RO17.5   RO17.5   Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Clutter, Mark B        0121633    70F       2015-03-20 10:15:00 AM   2015-03-20415C350
                                                                                10:33:00 AM
                                                                                          RO17.5   RO17.5   Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Clutter, Mark B        0121633    72        2015-03-20 10:15:00 AM   2015-03-20415C350
                                                                                10:33:00 AM
                                                                                          RO17.5   RO17.5   Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Clutter, Mark B        0121633    73        2015-03-20 10:15:00 AM   2015-03-20415C350
                                                                                10:33:00 AM
                                                                                          RO17.5   RO17.5   Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Clutter, Mark B        0121633    74        2015-03-20 10:15:00 AM   2015-03-20415C350
                                                                                10:33:00 AM
                                                                                          RO17.5   RO17.5   Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Clutter, Mark B        0121633    81        2015-03-20 10:15:00 AM   2015-03-20415C350
                                                                                10:33:00 AM
                                                                                          RO17.5   RO17.5   Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Clutter, Mark B        0121633    502       2015-03-20 10:15:00 AM   2015-03-20415C350
                                                                                10:33:00 AM
                                                                                          RO17.5   RO17.5   Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Clutter, Mark B        0121633    504       2015-03-20 10:15:00 AM   2015-03-20415C350
                                                                                10:33:00 AM
                                                                                          RO17.5   RO17.5   Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Clutter, Mark B        0121633    505       2015-03-20 10:15:00 AM   2015-03-20415C350
                                                                                10:33:00 AM
                                                                                          RO17.5   RO17.5   Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Clutter, Mark B        0121633    520       2015-03-20 10:15:00 AM   2015-03-20415C350
                                                                                10:33:00 AM
                                                                                          RO17.5   RO17.5   Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Clutter, Mark B        0121633    529       2015-03-20 10:15:00 AM   2015-03-20415C350
                                                                                10:33:00 AM
                                                                                          RO17.5   RO17.5   Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Clutter, Mark B        0121633    573       2015-03-20 10:15:00 AM   2015-03-20415C350
                                                                                10:33:00 AM
                                                                                          RO17.5   RO17.5   Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)
Clutter, Mark B        0121633    574       2015-03-20 10:15:00 AM   2015-03-20415C350
                                                                                10:33:00 AM
                                                                                          RO17.5   RO17.5   Compliant           Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No      Default           MINGO JUNCTION (9/21/07)




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                          Case: 2:17-cv-01151-JLG-EPD Doc #: 99-1 Filed: 03/31/20 Page: 22 of 44 PAGEID #: 1321



Clutter, Mark B        0121633    SP5       2015-03-20 10:15:00 AM   2015-03-20415C350
                                                                                10:33:00 AM
                                                                                          RO17.5   RO17.5   Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Clutter, Mark B        0121633    SP5-A     2015-03-20 10:15:00 AM   2015-03-20415C350
                                                                                10:33:00 AM
                                                                                          RO17.5   RO17.5   Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Clutter, Mark B        0121633    SP5-B-2   2015-03-20 10:15:00 AM   2015-03-20415C350
                                                                                10:33:00 AM
                                                                                          RO17.5   RO17.5   Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Speck, Carl D          1005335    59        2015-03-20 10:15:00 AM   2015-03-20415C350
                                                                                10:33:00 AM
                                                                                          RO17.5   RO17.5   Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Speck, Carl D          1005335    60        2015-03-20 10:15:00 AM   2015-03-20415C350
                                                                                10:33:00 AM
                                                                                          RO17.5   RO17.5   Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Speck, Carl D          1005335    70F       2015-03-20 10:15:00 AM   2015-03-20415C350
                                                                                10:33:00 AM
                                                                                          RO17.5   RO17.5   Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Speck, Carl D          1005335    72        2015-03-20 10:15:00 AM   2015-03-20415C350
                                                                                10:33:00 AM
                                                                                          RO17.5   RO17.5   Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Speck, Carl D          1005335    73        2015-03-20 10:15:00 AM   2015-03-20415C350
                                                                                10:33:00 AM
                                                                                          RO17.5   RO17.5   Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Speck, Carl D          1005335    74        2015-03-20 10:15:00 AM   2015-03-20415C350
                                                                                10:33:00 AM
                                                                                          RO17.5   RO17.5   Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Speck, Carl D          1005335    81        2015-03-20 10:15:00 AM   2015-03-20415C350
                                                                                10:33:00 AM
                                                                                          RO17.5   RO17.5   Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Speck, Carl D          1005335    502       2015-03-20 10:15:00 AM   2015-03-20415C350
                                                                                10:33:00 AM
                                                                                          RO17.5   RO17.5   Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Speck, Carl D          1005335    504       2015-03-20 10:15:00 AM   2015-03-20415C350
                                                                                10:33:00 AM
                                                                                          RO17.5   RO17.5   Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Speck, Carl D          1005335    505       2015-03-20 10:15:00 AM   2015-03-20415C350
                                                                                10:33:00 AM
                                                                                          RO17.5   RO17.5   Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Speck, Carl D          1005335    520       2015-03-20 10:15:00 AM   2015-03-20415C350
                                                                                10:33:00 AM
                                                                                          RO17.5   RO17.5   Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Speck, Carl D          1005335    529       2015-03-20 10:15:00 AM   2015-03-20415C350
                                                                                10:33:00 AM
                                                                                          RO17.5   RO17.5   Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Speck, Carl D          1005335    573       2015-03-20 10:15:00 AM   2015-03-20415C350
                                                                                10:33:00 AM
                                                                                          RO17.5   RO17.5   Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Speck, Carl D          1005335    574       2015-03-20 10:15:00 AM   2015-03-20415C350
                                                                                10:33:00 AM
                                                                                          RO17.5   RO17.5   Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Speck, Carl D          1005335    SP5       2015-03-20 10:15:00 AM   2015-03-20415C350
                                                                                10:33:00 AM
                                                                                          RO17.5   RO17.5   Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Speck, Carl D          1005335    SP5-A     2015-03-20 10:15:00 AM   2015-03-20415C350
                                                                                10:33:00 AM
                                                                                          RO17.5   RO17.5   Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Speck, Carl D          1005335    SP5-B-2   2015-03-20 10:15:00 AM   2015-03-20415C350
                                                                                10:33:00 AM
                                                                                          RO17.5   RO17.5   Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Austin, Russel E       0118469    22D2      2015-03-20 9:45:00 AM    2015-03-20CJ10
                                                                                10:05:00 AM
                                                                                          RO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Austin, Russel E       0118469    22D3      2015-03-20 9:45:00 AM    2015-03-20CJ10
                                                                                10:05:00 AM
                                                                                          RO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Austin, Russel E       0118469    181       2015-03-20 9:45:00 AM    2015-03-20CJ10
                                                                                10:05:00 AM
                                                                                          RO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Austin, Russel E       0118469    182       2015-03-20 9:45:00 AM    2015-03-20CJ10
                                                                                10:05:00 AM
                                                                                          RO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Austin, Russel E       0118469    185       2015-03-20 9:45:00 AM    2015-03-20CJ10
                                                                                10:05:00 AM
                                                                                          RO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Austin, Russel E       0118469    C102A     2015-03-20 9:45:00 AM    2015-03-20CJ10
                                                                                10:05:00 AM
                                                                                          RO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Bell, Devvon S         1008066    22D1      2015-03-20 9:45:00 AM    2015-03-20CJ10
                                                                                10:05:00 AM
                                                                                          RO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Bell, Devvon S         1008066    185       2015-03-20 9:45:00 AM    2015-03-20CJ10
                                                                                10:05:00 AM
                                                                                          RO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Timcho, George M       0316225    22D1      2015-03-20 9:45:00 AM    2015-03-20CJ10
                                                                                10:05:00 AM
                                                                                          RO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Timcho, George M       0316225    185       2015-03-20 9:45:00 AM    2015-03-20CJ10
                                                                                10:05:00 AM
                                                                                          RO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Storti, Justin D       1005853    22D1      2015-03-20 9:45:00 AM    2015-03-20CJ10
                                                                                10:05:00 AM
                                                                                          RO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Storti, Justin D       1005853    185       2015-03-20 9:45:00 AM    2015-03-20CJ10
                                                                                10:05:00 AM
                                                                                          RO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Yanssens, Roger A      0214034    22A       2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Yanssens, Roger A      0214034    22B       2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Yanssens, Roger A      0214034    SP5-A     2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Yanssens, Roger A      0214034    SP5-B-2   2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    20B1      2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    20B2      2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    21D       2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    22A       2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    22B       2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    22C       2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    22D1      2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    22D2      2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    22D3      2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    181       2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    182       2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    185       2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    187       2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    188       2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    215A      2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    215B      2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    216A      2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    216B      2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    223B      2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    224A      2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    224B      2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    225       2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    229B      2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    1040      2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    1050      2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    1050A     2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    1070      2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    1083      2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    1100      2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    1100F     2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    1110      2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    1110B     2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    1110C     2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    C102A     2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    SP5-A     2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    SP5-B-2   2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    20B1      2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    20B2      2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    21D       2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    22A       2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    22B       2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    22C       2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    22D1      2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    22D2      2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    22D3      2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    181       2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    182       2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    185       2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    187       2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    188       2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    215A      2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    215B      2015-03-20 8:15:00 AM    2015-03-20C12C520
                                                                                9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
                          Case: 2:17-cv-01151-JLG-EPD Doc #: 99-1 Filed: 03/31/20 Page: 23 of 44 PAGEID #: 1322



Dellenbaugh, Tyler N   1007441    216A      2015-03-20 8:15:00 AM   2015-03-20C12C520
                                                                               9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    216B      2015-03-20 8:15:00 AM   2015-03-20C12C520
                                                                               9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    223B      2015-03-20 8:15:00 AM   2015-03-20C12C520
                                                                               9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    224A      2015-03-20 8:15:00 AM   2015-03-20C12C520
                                                                               9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    224B      2015-03-20 8:15:00 AM   2015-03-20C12C520
                                                                               9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    225       2015-03-20 8:15:00 AM   2015-03-20C12C520
                                                                               9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    229B      2015-03-20 8:15:00 AM   2015-03-20C12C520
                                                                               9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    1040      2015-03-20 8:15:00 AM   2015-03-20C12C520
                                                                               9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    1050      2015-03-20 8:15:00 AM   2015-03-20C12C520
                                                                               9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    1050A     2015-03-20 8:15:00 AM   2015-03-20C12C520
                                                                               9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    1070      2015-03-20 8:15:00 AM   2015-03-20C12C520
                                                                               9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    1083      2015-03-20 8:15:00 AM   2015-03-20C12C520
                                                                               9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    1100      2015-03-20 8:15:00 AM   2015-03-20C12C520
                                                                               9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    1100F     2015-03-20 8:15:00 AM   2015-03-20C12C520
                                                                               9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    1110      2015-03-20 8:15:00 AM   2015-03-20C12C520
                                                                               9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    1110B     2015-03-20 8:15:00 AM   2015-03-20C12C520
                                                                               9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    1110C     2015-03-20 8:15:00 AM   2015-03-20C12C520
                                                                               9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    C102A     2015-03-20 8:15:00 AM   2015-03-20C12C520
                                                                               9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    SP5-A     2015-03-20 8:15:00 AM   2015-03-20C12C520
                                                                               9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    SP5-B-2   2015-03-20 8:15:00 AM   2015-03-20C12C520
                                                                               9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Yanssens, Roger A      0214034    215B      2015-03-20 8:15:00 AM   2015-03-20C12C520
                                                                               9:00:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Summy, Scott T         0560540    1         2015-03-20 7:55:00 AM   2015-03-20YM
                                                                               8:05:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Summy, Scott T         0560540    5         2015-03-20 7:55:00 AM   2015-03-20YM
                                                                               8:05:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Summy, Scott T         0560540    52        2015-03-20 7:55:00 AM   2015-03-20YM
                                                                               8:05:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Summy, Scott T         0560540    57        2015-03-20 7:55:00 AM   2015-03-20YM
                                                                               8:05:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Summy, Scott T         0560540    58        2015-03-20 7:55:00 AM   2015-03-20YM
                                                                               8:05:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Summy, Scott T         0560540    59        2015-03-20 7:55:00 AM   2015-03-20YM
                                                                               8:05:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Summy, Scott T         0560540    60        2015-03-20 7:55:00 AM   2015-03-20YM
                                                                               8:05:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Summy, Scott T         0560540    G         2015-03-20 7:55:00 AM   2015-03-20YM
                                                                               8:05:00 AMRO21     RO21     Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hall, Breck E          0128857    22D2      2015-03-20 7:15:00 AM   2015-03-20C19C519
                                                                               7:45:00 AMRO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hall, Breck E          0128857    22D3      2015-03-20 7:15:00 AM   2015-03-20C19C519
                                                                               7:45:00 AMRO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hall, Breck E          0128857    223B      2015-03-20 7:15:00 AM   2015-03-20C19C519
                                                                               7:45:00 AMRO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hall, Breck E          0128857    225       2015-03-20 7:15:00 AM   2015-03-20C19C519
                                                                               7:45:00 AMRO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hall, Breck E          0128857    C102A     2015-03-20 7:15:00 AM   2015-03-20C19C519
                                                                               7:45:00 AMRO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Alvis, Shane M         0200740    22D1      2015-03-20 7:15:00 AM   2015-03-20C19C519
                                                                               7:45:00 AMRO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Alvis, Shane M         0200740    181       2015-03-20 7:15:00 AM   2015-03-20C19C519
                                                                               7:45:00 AMRO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Alvis, Shane M         0200740    182       2015-03-20 7:15:00 AM   2015-03-20C19C519
                                                                               7:45:00 AMRO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Alvis, Shane M         0200740    223B      2015-03-20 7:15:00 AM   2015-03-20C19C519
                                                                               7:45:00 AMRO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Alvis, Shane M         0200740    225       2015-03-20 7:15:00 AM   2015-03-20C19C519
                                                                               7:45:00 AMRO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Alvis, Shane M         0200740    1040      2015-03-20 7:15:00 AM   2015-03-20C19C519
                                                                               7:45:00 AMRO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Alvis, Shane M         0200740    1072      2015-03-20 7:15:00 AM   2015-03-20C19C519
                                                                               7:45:00 AMRO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Alvis, Shane M         0200740    1100F     2015-03-20 7:15:00 AM   2015-03-20C19C519
                                                                               7:45:00 AMRO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Alvis, Shane M         0200740    1110B     2015-03-20 7:15:00 AM   2015-03-20C19C519
                                                                               7:45:00 AMRO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Alvis, Shane M         0200740    1110C     2015-03-20 7:15:00 AM   2015-03-20C19C519
                                                                               7:45:00 AMRO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Alvis, Shane M         0200740    C102A     2015-03-20 7:15:00 AM   2015-03-20C19C519
                                                                               7:45:00 AMRO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Bender, Eric J         1007030    22D1      2015-03-20 7:15:00 AM   2015-03-20C19C519
                                                                               7:45:00 AMRO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Bender, Eric J         1007030    181       2015-03-20 7:15:00 AM   2015-03-20C19C519
                                                                               7:45:00 AMRO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Bender, Eric J         1007030    182       2015-03-20 7:15:00 AM   2015-03-20C19C519
                                                                               7:45:00 AMRO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Bender, Eric J         1007030    223B      2015-03-20 7:15:00 AM   2015-03-20C19C519
                                                                               7:45:00 AMRO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Bender, Eric J         1007030    225       2015-03-20 7:15:00 AM   2015-03-20C19C519
                                                                               7:45:00 AMRO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Bender, Eric J         1007030    1040      2015-03-20 7:15:00 AM   2015-03-20C19C519
                                                                               7:45:00 AMRO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Bender, Eric J         1007030    1072      2015-03-20 7:15:00 AM   2015-03-20C19C519
                                                                               7:45:00 AMRO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Bender, Eric J         1007030    1100F     2015-03-20 7:15:00 AM   2015-03-20C19C519
                                                                               7:45:00 AMRO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Bender, Eric J         1007030    1110B     2015-03-20 7:15:00 AM   2015-03-20C19C519
                                                                               7:45:00 AMRO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Bender, Eric J         1007030    1110C     2015-03-20 7:15:00 AM   2015-03-20C19C519
                                                                               7:45:00 AMRO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Bender, Eric J         1007030    C102A     2015-03-20 7:15:00 AM   2015-03-20C19C519
                                                                               7:45:00 AMRO21.5   RO21.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Czup, Mark A           0767216    70F       2015-03-20 6:15:00 AM   2015-03-20C10C520
                                                                               6:50:00 AMRO16.5   RO16.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Czup, Mark A           0767216    72        2015-03-20 6:15:00 AM   2015-03-20C10C520
                                                                               6:50:00 AMRO16.5   RO16.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Crockett, Gary S       0647640    52        2015-03-20 6:15:00 AM   2015-03-20C10C520
                                                                               6:50:00 AMRO16.5   RO16.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Crockett, Gary S       0647640    57        2015-03-20 6:15:00 AM   2015-03-20C10C520
                                                                               6:50:00 AMRO16.5   RO16.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Crockett, Gary S       0647640    58        2015-03-20 6:15:00 AM   2015-03-20C10C520
                                                                               6:50:00 AMRO16.5   RO16.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Crockett, Gary S       0647640    59        2015-03-20 6:15:00 AM   2015-03-20C10C520
                                                                               6:50:00 AMRO16.5   RO16.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Crockett, Gary S       0647640    60        2015-03-20 6:15:00 AM   2015-03-20C10C520
                                                                               6:50:00 AMRO16.5   RO16.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Crockett, Gary S       0647640    73        2015-03-20 6:15:00 AM   2015-03-20C10C520
                                                                               6:50:00 AMRO16.5   RO16.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Crockett, Gary S       0647640    74        2015-03-20 6:15:00 AM   2015-03-20C10C520
                                                                               6:50:00 AMRO16.5   RO16.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Crockett, Gary S       0647640    81        2015-03-20 6:15:00 AM   2015-03-20C10C520
                                                                               6:50:00 AMRO16.5   RO16.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Crockett, Gary S       0647640    529       2015-03-20 6:15:00 AM   2015-03-20C10C520
                                                                               6:50:00 AMRO16.5   RO16.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Birkhimer, Zachary D   0359772    52        2015-03-20 6:15:00 AM   2015-03-20C10C520
                                                                               6:50:00 AMRO16.5   RO16.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Birkhimer, Zachary D   0359772    57        2015-03-20 6:15:00 AM   2015-03-20C10C520
                                                                               6:50:00 AMRO16.5   RO16.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Birkhimer, Zachary D   0359772    58        2015-03-20 6:15:00 AM   2015-03-20C10C520
                                                                               6:50:00 AMRO16.5   RO16.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Birkhimer, Zachary D   0359772    59        2015-03-20 6:15:00 AM   2015-03-20C10C520
                                                                               6:50:00 AMRO16.5   RO16.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Birkhimer, Zachary D   0359772    60        2015-03-20 6:15:00 AM   2015-03-20C10C520
                                                                               6:50:00 AMRO16.5   RO16.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Birkhimer, Zachary D   0359772    73        2015-03-20 6:15:00 AM   2015-03-20C10C520
                                                                               6:50:00 AMRO16.5   RO16.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Birkhimer, Zachary D   0359772    74        2015-03-20 6:15:00 AM   2015-03-20C10C520
                                                                               6:50:00 AMRO16.5   RO16.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Birkhimer, Zachary D   0359772    81        2015-03-20 6:15:00 AM   2015-03-20C10C520
                                                                               6:50:00 AMRO16.5   RO16.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Birkhimer, Zachary D   0359772    529       2015-03-20 6:15:00 AM   2015-03-20C10C520
                                                                               6:50:00 AMRO16.5   RO16.5   Compliant   Ochoa, Valois A; Grech, Andrew J     Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Cunningham, Robert D   0123467    BANNER    2015-02-14 3:20:00 AM   2015-02-14C22C513
                                                                               3:40:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Cunningham, Robert D   0123467    SP5-A     2015-02-14 3:20:00 AM   2015-02-14C22C513
                                                                               3:40:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Cunningham, Robert D   0123467    SP5-B-2   2015-02-14 3:20:00 AM   2015-02-14C22C513
                                                                               3:40:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Cunningham, Robert D   0123467    70F       2015-02-14 3:20:00 AM   2015-02-14C22C513
                                                                               3:40:00 AMRO17     RO17     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Cunningham, Robert D   0123467    72        2015-02-14 3:20:00 AM   2015-02-14C22C513
                                                                               3:40:00 AMRO17     RO17     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Cunningham, Robert D   0123467    73        2015-02-14 3:20:00 AM   2015-02-14C22C513
                                                                               3:40:00 AMRO17     RO17     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Cunningham, Robert D   0123467    74        2015-02-14 3:20:00 AM   2015-02-14C22C513
                                                                               3:40:00 AMRO17     RO17     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Cunningham, Robert D   0123467    81        2015-02-14 3:20:00 AM   2015-02-14C22C513
                                                                               3:40:00 AMRO17     RO17     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Alvis, Shane M         0200740    BANNER    2015-02-14 3:20:00 AM   2015-02-14C22C513
                                                                               3:40:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Alvis, Shane M         0200740    SP5-A     2015-02-14 3:20:00 AM   2015-02-14C22C513
                                                                               3:40:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Alvis, Shane M         0200740    SP5-B-2   2015-02-14 3:20:00 AM   2015-02-14C22C513
                                                                               3:40:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Alvis, Shane M         0200740    81        2015-02-14 3:20:00 AM   2015-02-14C22C513
                                                                               3:40:00 AMRO17     RO17     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
                          Case: 2:17-cv-01151-JLG-EPD Doc #: 99-1 Filed: 03/31/20 Page: 24 of 44 PAGEID #: 1323



Hoffman, Christian D   0560184    22D2      2015-02-14 2:40:00 AM    2015-02-14C19C513
                                                                                3:00:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hoffman, Christian D   0560184    22D3      2015-02-14 2:40:00 AM    2015-02-14C19C513
                                                                                3:00:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hoffman, Christian D   0560184    C102A     2015-02-14 2:40:00 AM    2015-02-14C19C513
                                                                                3:00:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hoffman, Christian D   0560184    C102C     2015-02-14 2:40:00 AM    2015-02-14C19C513
                                                                                3:00:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hoffman, Christian D   0560184    185       2015-02-14 2:40:00 AM    2015-02-14C19C513
                                                                                3:00:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Taylor, Shane C        0169842    22D1      2015-02-14 2:40:00 AM    2015-02-14C19C513
                                                                                3:00:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Taylor, Shane C        0169842    223A      2015-02-14 2:40:00 AM    2015-02-14C19C513
                                                                                3:00:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Taylor, Shane C        0169842    223B      2015-02-14 2:40:00 AM    2015-02-14C19C513
                                                                                3:00:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Taylor, Shane C        0169842    224A      2015-02-14 2:40:00 AM    2015-02-14C19C513
                                                                                3:00:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Taylor, Shane C        0169842    225       2015-02-14 2:40:00 AM    2015-02-14C19C513
                                                                                3:00:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Taylor, Shane C        0169842    C102A     2015-02-14 2:40:00 AM    2015-02-14C19C513
                                                                                3:00:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Taylor, Shane C        0169842    C102C     2015-02-14 2:40:00 AM    2015-02-14C19C513
                                                                                3:00:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Taylor, Shane C        0169842    181       2015-02-14 2:40:00 AM    2015-02-14C19C513
                                                                                3:00:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Taylor, Shane C        0169842    182       2015-02-14 2:40:00 AM    2015-02-14C19C513
                                                                                3:00:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Taylor, Shane C        0169842    185       2015-02-14 2:40:00 AM    2015-02-14C19C513
                                                                                3:00:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Trebus, Jason M        0370776    22D1      2015-02-14 2:40:00 AM    2015-02-14C19C513
                                                                                3:00:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Trebus, Jason M        0370776    223A      2015-02-14 2:40:00 AM    2015-02-14C19C513
                                                                                3:00:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Trebus, Jason M        0370776    223B      2015-02-14 2:40:00 AM    2015-02-14C19C513
                                                                                3:00:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Trebus, Jason M        0370776    224A      2015-02-14 2:40:00 AM    2015-02-14C19C513
                                                                                3:00:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Trebus, Jason M        0370776    225       2015-02-14 2:40:00 AM    2015-02-14C19C513
                                                                                3:00:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Trebus, Jason M        0370776    C102A     2015-02-14 2:40:00 AM    2015-02-14C19C513
                                                                                3:00:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Trebus, Jason M        0370776    C102C     2015-02-14 2:40:00 AM    2015-02-14C19C513
                                                                                3:00:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Trebus, Jason M        0370776    181       2015-02-14 2:40:00 AM    2015-02-14C19C513
                                                                                3:00:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Trebus, Jason M        0370776    182       2015-02-14 2:40:00 AM    2015-02-14C19C513
                                                                                3:00:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Trebus, Jason M        0370776    185       2015-02-14 2:40:00 AM    2015-02-14C19C513
                                                                                3:00:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Haynes Sr, Rodney D    0874454    1         2015-02-14 2:25:00 AM    2015-02-14YM
                                                                                2:35:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Haynes Sr, Rodney D    0874454    5         2015-02-14 2:25:00 AM    2015-02-14YM
                                                                                2:35:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Haynes Sr, Rodney D    0874454    36        2015-02-14 2:25:00 AM    2015-02-14YM
                                                                                2:35:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Haynes Sr, Rodney D    0874454    52        2015-02-14 2:25:00 AM    2015-02-14YM
                                                                                2:35:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Haynes Sr, Rodney D    0874454    57        2015-02-14 2:25:00 AM    2015-02-14YM
                                                                                2:35:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Haynes Sr, Rodney D    0874454    59        2015-02-14 2:25:00 AM    2015-02-14YM
                                                                                2:35:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Haynes Sr, Rodney D    0874454    60        2015-02-14 2:25:00 AM    2015-02-14YM
                                                                                2:35:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Haynes Sr, Rodney D    0874454    G         2015-02-14 2:25:00 AM    2015-02-14YM
                                                                                2:35:00 AMRO21     RO21     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ware, Donald M         0854462    22D2      2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ware, Donald M         0854462    22D3      2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ware, Donald M         0854462    36        2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ware, Donald M         0854462    52        2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ware, Donald M         0854462    57        2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ware, Donald M         0854462    73        2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ware, Donald M         0854462    74        2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ware, Donald M         0854462    81        2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ware, Donald M         0854462    181       2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ware, Donald M         0854462    C102A     2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ware, Donald M         0854462    SP5-A     2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ware, Donald M         0854462    SP5-B-2   2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    22D1      2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    81        2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    181       2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    182       2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    185       2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    223A      2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    223B      2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    224A      2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    225       2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    1100F     2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    A31B      2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    C102A     2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    SP5-A     2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Mosti, Michael D       0195469    SP5-B-2   2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Milhoan, John J        0394401    22D1      2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Milhoan, John J        0394401    81        2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Milhoan, John J        0394401    181       2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Milhoan, John J        0394401    182       2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Milhoan, John J        0394401    185       2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Milhoan, John J        0394401    223A      2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Milhoan, John J        0394401    223B      2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Milhoan, John J        0394401    224A      2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Milhoan, John J        0394401    225       2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Milhoan, John J        0394401    1100F     2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Milhoan, John J        0394401    A31B      2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Milhoan, John J        0394401    C102A     2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Milhoan, John J        0394401    SP5-A     2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Milhoan, John J        0394401    SP5-B-2   2015-02-14 2:00:00 AM    2015-02-14C60C513
                                                                                2:20:00 AMRO20.5   RO20.5   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hoffman, Christian D   0560184    22D2      2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                                1:20:00 AMRO35     RO35     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hoffman, Christian D   0560184    22D3      2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                                1:20:00 AMRO35     RO35     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hoffman, Christian D   0560184    70F       2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                                1:20:00 AMRO35     RO35     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hoffman, Christian D   0560184    72        2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                                1:20:00 AMRO35     RO35     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hoffman, Christian D   0560184    73        2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                                1:20:00 AMRO35     RO35     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hoffman, Christian D   0560184    74        2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                                1:20:00 AMRO35     RO35     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hoffman, Christian D   0560184    81        2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                                1:20:00 AMRO35     RO35     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hoffman, Christian D   0560184    181       2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                                1:20:00 AMRO35     RO35     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hoffman, Christian D   0560184    215A      2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                                1:20:00 AMRO35     RO35     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hoffman, Christian D   0560184    215B      2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                                1:20:00 AMRO35     RO35     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hoffman, Christian D   0560184    1044      2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                                1:20:00 AMRO35     RO35     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hoffman, Christian D   0560184    1045      2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                                1:20:00 AMRO35     RO35     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hoffman, Christian D   0560184    1072      2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                                1:20:00 AMRO35     RO35     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Taylor, Shane C        0169842    22D1      2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                                1:20:00 AMRO35     RO35     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Taylor, Shane C        0169842    81        2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                                1:20:00 AMRO35     RO35     Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
                          Case: 2:17-cv-01151-JLG-EPD Doc #: 99-1 Filed: 03/31/20 Page: 25 of 44 PAGEID #: 1324



Taylor, Shane C        0169842    181      2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                              1:20:00 AMRO35    RO35    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Taylor, Shane C        0169842    182      2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                              1:20:00 AMRO35    RO35    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Taylor, Shane C        0169842    185      2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                              1:20:00 AMRO35    RO35    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Taylor, Shane C        0169842    215A     2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                              1:20:00 AMRO35    RO35    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Taylor, Shane C        0169842    215B     2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                              1:20:00 AMRO35    RO35    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Taylor, Shane C        0169842    216A     2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                              1:20:00 AMRO35    RO35    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Taylor, Shane C        0169842    216B     2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                              1:20:00 AMRO35    RO35    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Taylor, Shane C        0169842    223A     2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                              1:20:00 AMRO35    RO35    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Taylor, Shane C        0169842    223B     2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                              1:20:00 AMRO35    RO35    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Taylor, Shane C        0169842    224A     2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                              1:20:00 AMRO35    RO35    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Taylor, Shane C        0169842    224B     2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                              1:20:00 AMRO35    RO35    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Taylor, Shane C        0169842    225      2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                              1:20:00 AMRO35    RO35    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Taylor, Shane C        0169842    1044     2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                              1:20:00 AMRO35    RO35    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Taylor, Shane C        0169842    1045     2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                              1:20:00 AMRO35    RO35    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Taylor, Shane C        0169842    1072     2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                              1:20:00 AMRO35    RO35    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Trebus, Jason M        0370776    22D1     2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                              1:20:00 AMRO35    RO35    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Trebus, Jason M        0370776    81       2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                              1:20:00 AMRO35    RO35    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Trebus, Jason M        0370776    181      2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                              1:20:00 AMRO35    RO35    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Trebus, Jason M        0370776    182      2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                              1:20:00 AMRO35    RO35    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Trebus, Jason M        0370776    185      2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                              1:20:00 AMRO35    RO35    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Trebus, Jason M        0370776    215A     2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                              1:20:00 AMRO35    RO35    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Trebus, Jason M        0370776    215B     2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                              1:20:00 AMRO35    RO35    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Trebus, Jason M        0370776    216A     2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                              1:20:00 AMRO35    RO35    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Trebus, Jason M        0370776    216B     2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                              1:20:00 AMRO35    RO35    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Trebus, Jason M        0370776    223A     2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                              1:20:00 AMRO35    RO35    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Trebus, Jason M        0370776    223B     2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                              1:20:00 AMRO35    RO35    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Trebus, Jason M        0370776    224A     2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                              1:20:00 AMRO35    RO35    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Trebus, Jason M        0370776    224B     2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                              1:20:00 AMRO35    RO35    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Trebus, Jason M        0370776    225      2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                              1:20:00 AMRO35    RO35    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Trebus, Jason M        0370776    1044     2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                              1:20:00 AMRO35    RO35    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Trebus, Jason M        0370776    1045     2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                              1:20:00 AMRO35    RO35    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Trebus, Jason M        0370776    1072     2015-02-14 12:45:00 AM   2015-02-14C19C513
                                                                              1:20:00 AMRO35    RO35    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Traina, Alfonso T      0093073    22D2     2015-02-13 11:30:00 PM   2015-02-14C95C513
                                                                              12:15:00 AM
                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Traina, Alfonso T      0093073    22D3     2015-02-13 11:30:00 PM   2015-02-14C95C513
                                                                              12:15:00 AM
                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Traina, Alfonso T      0093073    52       2015-02-13 11:30:00 PM   2015-02-14C95C513
                                                                              12:15:00 AM
                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Traina, Alfonso T      0093073    57       2015-02-13 11:30:00 PM   2015-02-14C95C513
                                                                              12:15:00 AM
                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Traina, Alfonso T      0093073    60       2015-02-13 11:30:00 PM   2015-02-14C95C513
                                                                              12:15:00 AM
                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Traina, Alfonso T      0093073    70F      2015-02-13 11:30:00 PM   2015-02-14C95C513
                                                                              12:15:00 AM
                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Traina, Alfonso T      0093073    72       2015-02-13 11:30:00 PM   2015-02-14C95C513
                                                                              12:15:00 AM
                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Traina, Alfonso T      0093073    73       2015-02-13 11:30:00 PM   2015-02-14C95C513
                                                                              12:15:00 AM
                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Traina, Alfonso T      0093073    74       2015-02-13 11:30:00 PM   2015-02-14C95C513
                                                                              12:15:00 AM
                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Traina, Alfonso T      0093073    81       2015-02-13 11:30:00 PM   2015-02-14C95C513
                                                                              12:15:00 AM
                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Traina, Alfonso T      0093073    185      2015-02-13 11:30:00 PM   2015-02-14C95C513
                                                                              12:15:00 AM
                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Traina, Alfonso T      0093073    215A     2015-02-13 11:30:00 PM   2015-02-14C95C513
                                                                              12:15:00 AM
                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Traina, Alfonso T      0093073    215B     2015-02-13 11:30:00 PM   2015-02-14C95C513
                                                                              12:15:00 AM
                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Traina, Alfonso T      0093073    317      2015-02-13 11:30:00 PM   2015-02-14C95C513
                                                                              12:15:00 AM
                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Ervin, Keith M         0378777    21D      2015-02-13 11:30:00 PM   2015-02-14C95C513
                                                                              12:15:00 AM
                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Ervin, Keith M         0378777    22A      2015-02-13 11:30:00 PM   2015-02-14C95C513
                                                                              12:15:00 AM
                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Ervin, Keith M         0378777    22B      2015-02-13 11:30:00 PM   2015-02-14C95C513
                                                                              12:15:00 AM
                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Ervin, Keith M         0378777    22D1     2015-02-13 11:30:00 PM   2015-02-14C95C513
                                                                              12:15:00 AM
                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Ervin, Keith M         0378777    52       2015-02-13 11:30:00 PM   2015-02-14C95C513
                                                                              12:15:00 AM
                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Ervin, Keith M         0378777    57       2015-02-13 11:30:00 PM   2015-02-14C95C513
                                                                              12:15:00 AM
                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Ervin, Keith M         0378777    182      2015-02-13 11:30:00 PM   2015-02-14C95C513
                                                                              12:15:00 AM
                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Ervin, Keith M         0378777    185      2015-02-13 11:30:00 PM   2015-02-14C95C513
                                                                              12:15:00 AM
                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Ervin, Keith M         0378777    195      2015-02-13 11:30:00 PM   2015-02-14C95C513
                                                                              12:15:00 AM
                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Ervin, Keith M         0378777    215A     2015-02-13 11:30:00 PM   2015-02-14C95C513
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                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Ervin, Keith M         0378777    215B     2015-02-13 11:30:00 PM   2015-02-14C95C513
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Ervin, Keith M         0378777    216A     2015-02-13 11:30:00 PM   2015-02-14C95C513
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                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Ervin, Keith M         0378777    216B     2015-02-13 11:30:00 PM   2015-02-14C95C513
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                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Ervin, Keith M         0378777    223A     2015-02-13 11:30:00 PM   2015-02-14C95C513
                                                                              12:15:00 AM
                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Ervin, Keith M         0378777    223B     2015-02-13 11:30:00 PM   2015-02-14C95C513
                                                                              12:15:00 AM
                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Ervin, Keith M         0378777    224A     2015-02-13 11:30:00 PM   2015-02-14C95C513
                                                                              12:15:00 AM
                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Ervin, Keith M         0378777    225      2015-02-13 11:30:00 PM   2015-02-14C95C513
                                                                              12:15:00 AM
                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Ervin, Keith M         0378777    317      2015-02-13 11:30:00 PM   2015-02-14C95C513
                                                                              12:15:00 AM
                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Ervin, Keith M         0378777    1040     2015-02-13 11:30:00 PM   2015-02-14C95C513
                                                                              12:15:00 AM
                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Ervin, Keith M         0378777    1045     2015-02-13 11:30:00 PM   2015-02-14C95C513
                                                                              12:15:00 AM
                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Ervin, Keith M         0378777    1072     2015-02-13 11:30:00 PM   2015-02-14C95C513
                                                                              12:15:00 AM
                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Ervin, Keith M         0378777    1100F    2015-02-13 11:30:00 PM   2015-02-14C95C513
                                                                              12:15:00 AM
                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Ervin, Keith M         0378777    C102A    2015-02-13 11:30:00 PM   2015-02-14C95C513
                                                                              12:15:00 AM
                                                                                        RD23    RD23    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    573      2015-02-13 10:40:00 PM   2015-02-13C13C513
                                                                              10:50:00 PM
                                                                                        RADIO   RADIO   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    574      2015-02-13 10:40:00 PM   2015-02-13C13C513
                                                                              10:50:00 PM
                                                                                        RADIO   RADIO   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    36       2015-02-13 10:40:00 PM   2015-02-13C13C513
                                                                              10:50:00 PM
                                                                                        RADIO   RADIO   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    57       2015-02-13 10:40:00 PM   2015-02-13C13C513
                                                                              10:50:00 PM
                                                                                        RADIO   RADIO   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    58       2015-02-13 10:40:00 PM   2015-02-13C13C513
                                                                              10:50:00 PM
                                                                                        RADIO   RADIO   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    59       2015-02-13 10:40:00 PM   2015-02-13C13C513
                                                                              10:50:00 PM
                                                                                        RADIO   RADIO   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    60       2015-02-13 10:40:00 PM   2015-02-13C13C513
                                                                              10:50:00 PM
                                                                                        RADIO   RADIO   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Purviance, Matthew J   0197142    575      2015-02-13 10:40:00 PM   2015-02-13C13C513
                                                                              10:50:00 PM
                                                                                        RADIO   RADIO   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Purviance, Matthew J   0197142    36       2015-02-13 10:40:00 PM   2015-02-13C13C513
                                                                              10:50:00 PM
                                                                                        RADIO   RADIO   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Purviance, Matthew J   0197142    57       2015-02-13 10:40:00 PM   2015-02-13C13C513
                                                                              10:50:00 PM
                                                                                        RADIO   RADIO   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Purviance, Matthew J   0197142    58       2015-02-13 10:40:00 PM   2015-02-13C13C513
                                                                              10:50:00 PM
                                                                                        RADIO   RADIO   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Purviance, Matthew J   0197142    59       2015-02-13 10:40:00 PM   2015-02-13C13C513
                                                                              10:50:00 PM
                                                                                        RADIO   RADIO   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Purviance, Matthew J   0197142    60       2015-02-13 10:40:00 PM   2015-02-13C13C513
                                                                              10:50:00 PM
                                                                                        RADIO   RADIO   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default                     MINGO JUNCTION (9/21/07)
Wilson, Gary E         0128885    852      2015-02-13 9:15:00 PM    2015-02-13CJ10
                                                                              9:30:00 PMRO21    RO21    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Remote Control Operations   MINGO JUNCTION (9/21/07)
Wilson, Gary E         0128885    855      2015-02-13 9:15:00 PM    2015-02-13CJ10
                                                                              9:30:00 PMRO21    RO21    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Remote Control Operations   MINGO JUNCTION (9/21/07)
Wilson, Gary E         0128885    L202     2015-02-13 9:15:00 PM    2015-02-13CJ10
                                                                              9:30:00 PMRO21    RO21    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Remote Control Operations   MINGO JUNCTION (9/21/07)
Burket, Patrick G      0135353    852      2015-02-13 9:15:00 PM    2015-02-13CJ10
                                                                              9:30:00 PMRO21    RO21    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Remote Control Operations   MINGO JUNCTION (9/21/07)
Burket, Patrick G      0135353    855      2015-02-13 9:15:00 PM    2015-02-13CJ10
                                                                              9:30:00 PMRO21    RO21    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Remote Control Operations   MINGO JUNCTION (9/21/07)
Burket, Patrick G      0135353    L202     2015-02-13 9:15:00 PM    2015-02-13CJ10
                                                                              9:30:00 PMRO21    RO21    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Remote Control Operations   MINGO JUNCTION (9/21/07)
                            Case: 2:17-cv-01151-JLG-EPD Doc #: 99-1 Filed: 03/31/20 Page: 26 of 44 PAGEID #: 1325



Sims, Richard B          0560095    22D2      2015-02-13 8:15:00 PM   2015-02-13C17C513
                                                                                8:50:00 PMDL3    DL3    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Sims, Richard B          0560095    22D3      2015-02-13 8:15:00 PM   2015-02-13C17C513
                                                                                8:50:00 PMDL3    DL3    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Sims, Richard B          0560095    181       2015-02-13 8:15:00 PM   2015-02-13C17C513
                                                                                8:50:00 PMDL3    DL3    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Sims, Richard B          0560095    185       2015-02-13 8:15:00 PM   2015-02-13C17C513
                                                                                8:50:00 PMDL3    DL3    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    20A2      2015-02-13 8:15:00 PM   2015-02-13C17C513
                                                                                8:50:00 PMDL3    DL3    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    20A4      2015-02-13 8:15:00 PM   2015-02-13C17C513
                                                                                8:50:00 PMDL3    DL3    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    21D       2015-02-13 8:15:00 PM   2015-02-13C17C513
                                                                                8:50:00 PMDL3    DL3    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    22A       2015-02-13 8:15:00 PM   2015-02-13C17C513
                                                                                8:50:00 PMDL3    DL3    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    22B       2015-02-13 8:15:00 PM   2015-02-13C17C513
                                                                                8:50:00 PMDL3    DL3    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    22D1      2015-02-13 8:15:00 PM   2015-02-13C17C513
                                                                                8:50:00 PMDL3    DL3    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    181       2015-02-13 8:15:00 PM   2015-02-13C17C513
                                                                                8:50:00 PMDL3    DL3    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    182       2015-02-13 8:15:00 PM   2015-02-13C17C513
                                                                                8:50:00 PMDL3    DL3    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    185       2015-02-13 8:15:00 PM   2015-02-13C17C513
                                                                                8:50:00 PMDL3    DL3    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    186       2015-02-13 8:15:00 PM   2015-02-13C17C513
                                                                                8:50:00 PMDL3    DL3    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    215A      2015-02-13 8:15:00 PM   2015-02-13C17C513
                                                                                8:50:00 PMDL3    DL3    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    215B      2015-02-13 8:15:00 PM   2015-02-13C17C513
                                                                                8:50:00 PMDL3    DL3    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    216A      2015-02-13 8:15:00 PM   2015-02-13C17C513
                                                                                8:50:00 PMDL3    DL3    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    216B      2015-02-13 8:15:00 PM   2015-02-13C17C513
                                                                                8:50:00 PMDL3    DL3    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    1070      2015-02-13 8:15:00 PM   2015-02-13C17C513
                                                                                8:50:00 PMDL3    DL3    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    1110B     2015-02-13 8:15:00 PM   2015-02-13C17C513
                                                                                8:50:00 PMDL3    DL3    Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Glover, Fortune Q        0240719    22D2      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Glover, Fortune Q        0240719    22D3      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Glover, Fortune Q        0240719    52        2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Glover, Fortune Q        0240719    57        2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Glover, Fortune Q        0240719    69        2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Glover, Fortune Q        0240719    73        2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Glover, Fortune Q        0240719    74        2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Glover, Fortune Q        0240719    181       2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Glover, Fortune Q        0240719    185       2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Glover, Fortune Q        0240719    215A      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Glover, Fortune Q        0240719    C102A     2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Glover, Fortune Q        0240719    SP5-A     2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Glover, Fortune Q        0240719    SP5-B-2   2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    22A       2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    22B       2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    22D1      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    52        2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    57        2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    181       2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    182       2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    185       2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    188       2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    215A      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    215B      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    216A      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    216B      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    223A      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    223B      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    224A      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    224B      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    225       2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    229B      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    1040      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    1043      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    1044      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    1045      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    1072      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    1100F     2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    1110      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    1110B     2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    1110C     2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    C102A     2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    SP5-A     2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    SP5-B-2   2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Becker Jr, Tj L          0139812    22A       2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Becker Jr, Tj L          0139812    22B       2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Becker Jr, Tj L          0139812    22D1      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Becker Jr, Tj L          0139812    52        2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Becker Jr, Tj L          0139812    57        2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Becker Jr, Tj L          0139812    181       2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Becker Jr, Tj L          0139812    182       2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Becker Jr, Tj L          0139812    185       2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Becker Jr, Tj L          0139812    188       2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Becker Jr, Tj L          0139812    215A      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Becker Jr, Tj L          0139812    215B      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Becker Jr, Tj L          0139812    216A      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Becker Jr, Tj L          0139812    216B      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Becker Jr, Tj L          0139812    223A      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Becker Jr, Tj L          0139812    223B      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Becker Jr, Tj L          0139812    224A      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Becker Jr, Tj L          0139812    224B      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Becker Jr, Tj L          0139812    225       2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Becker Jr, Tj L          0139812    229B      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Becker Jr, Tj L          0139812    1040      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Becker Jr, Tj L          0139812    1043      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Becker Jr, Tj L          0139812    1044      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Becker Jr, Tj L          0139812    1045      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Becker Jr, Tj L          0139812    1072      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                                7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
                          Case: 2:17-cv-01151-JLG-EPD Doc #: 99-1 Filed: 03/31/20 Page: 27 of 44 PAGEID #: 1326



Becker Jr, Tj L        0139812    1100F     2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Becker Jr, Tj L        0139812    1110      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Becker Jr, Tj L        0139812    1110B     2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Becker Jr, Tj L        0139812    1110C     2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Becker Jr, Tj L        0139812    C102A     2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Becker Jr, Tj L        0139812    SP5-A     2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Becker Jr, Tj L        0139812    SP5-B-2   2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Storti, Justin D       1005853    22A       2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Storti, Justin D       1005853    22B       2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Storti, Justin D       1005853    22D1      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Storti, Justin D       1005853    52        2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Storti, Justin D       1005853    57        2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Storti, Justin D       1005853    181       2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Storti, Justin D       1005853    182       2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Storti, Justin D       1005853    185       2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Storti, Justin D       1005853    188       2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Storti, Justin D       1005853    215A      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Storti, Justin D       1005853    215B      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Storti, Justin D       1005853    216A      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Storti, Justin D       1005853    216B      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Storti, Justin D       1005853    223A      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Storti, Justin D       1005853    223B      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Storti, Justin D       1005853    224A      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Storti, Justin D       1005853    224B      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Storti, Justin D       1005853    225       2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Storti, Justin D       1005853    229B      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Storti, Justin D       1005853    1040      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Storti, Justin D       1005853    1043      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Storti, Justin D       1005853    1044      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Storti, Justin D       1005853    1045      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Storti, Justin D       1005853    1072      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Storti, Justin D       1005853    1100F     2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Storti, Justin D       1005853    1110      2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Storti, Justin D       1005853    1110B     2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Storti, Justin D       1005853    1110C     2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Storti, Justin D       1005853    C102A     2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Storti, Justin D       1005853    SP5-A     2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Storti, Justin D       1005853    SP5-B-2   2015-02-13 7:15:00 PM   2015-02-13C14C513
                                                                              7:40:00 PMNW17   NW17   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Paris, William S       0590053    22D2      2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Paris, William S       0590053    22D3      2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Paris, William S       0590053    185       2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A        0168246    20A1      2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A        0168246    20A2      2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A        0168246    20B1      2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A        0168246    20B2      2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A        0168246    21D       2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A        0168246    22B       2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A        0168246    22D1      2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A        0168246    52        2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A        0168246    57        2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A        0168246    181       2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A        0168246    182       2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A        0168246    185       2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A        0168246    215A      2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A        0168246    215B      2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A        0168246    216A      2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A        0168246    216B      2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A        0168246    229B      2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A        0168246    1040      2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A        0168246    1043      2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A        0168246    1044      2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A        0168246    1045      2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A        0168246    1050      2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A        0168246    1050A     2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A        0168246    1070      2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A        0168246    1100F     2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A        0168246    1110      2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A        0168246    1110B     2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A        0168246    1110C     2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A        0168246    C102A     2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    20A1      2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    20A2      2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    20B1      2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    20B2      2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    21D       2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    22B       2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    22D1      2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    22D2      2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    22D3      2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    52        2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    57        2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    181       2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    182       2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    185       2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    215A      2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    215B      2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    216A      2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    216B      2015-02-13 6:10:00 PM   2015-02-13C13C513
                                                                              6:45:00 PMWR44   WR44   Compliant   Taibi, Lawrence S; Grech, Andrew J   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
                          Case: 2:17-cv-01151-JLG-EPD Doc #: 99-1 Filed: 03/31/20 Page: 28 of 44 PAGEID #: 1327



Dellenbaugh, Tyler N   1007441    229B      2015-02-13 6:10:00 PM    2015-02-13C13C513
                                                                               6:45:00 PMWR44   WR44   Compliant           Taibi, Lawrence S; Grech, Andrew J         Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    1040      2015-02-13 6:10:00 PM    2015-02-13C13C513
                                                                               6:45:00 PMWR44   WR44   Compliant           Taibi, Lawrence S; Grech, Andrew J         Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    1043      2015-02-13 6:10:00 PM    2015-02-13C13C513
                                                                               6:45:00 PMWR44   WR44   Compliant           Taibi, Lawrence S; Grech, Andrew J         Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    1044      2015-02-13 6:10:00 PM    2015-02-13C13C513
                                                                               6:45:00 PMWR44   WR44   Compliant           Taibi, Lawrence S; Grech, Andrew J         Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    1045      2015-02-13 6:10:00 PM    2015-02-13C13C513
                                                                               6:45:00 PMWR44   WR44   Compliant           Taibi, Lawrence S; Grech, Andrew J         Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    1050      2015-02-13 6:10:00 PM    2015-02-13C13C513
                                                                               6:45:00 PMWR44   WR44   Compliant           Taibi, Lawrence S; Grech, Andrew J         Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    1050A     2015-02-13 6:10:00 PM    2015-02-13C13C513
                                                                               6:45:00 PMWR44   WR44   Compliant           Taibi, Lawrence S; Grech, Andrew J         Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    1070      2015-02-13 6:10:00 PM    2015-02-13C13C513
                                                                               6:45:00 PMWR44   WR44   Compliant           Taibi, Lawrence S; Grech, Andrew J         Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    1100F     2015-02-13 6:10:00 PM    2015-02-13C13C513
                                                                               6:45:00 PMWR44   WR44   Compliant           Taibi, Lawrence S; Grech, Andrew J         Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    1110      2015-02-13 6:10:00 PM    2015-02-13C13C513
                                                                               6:45:00 PMWR44   WR44   Compliant           Taibi, Lawrence S; Grech, Andrew J         Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    1110B     2015-02-13 6:10:00 PM    2015-02-13C13C513
                                                                               6:45:00 PMWR44   WR44   Compliant           Taibi, Lawrence S; Grech, Andrew J         Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    1110C     2015-02-13 6:10:00 PM    2015-02-13C13C513
                                                                               6:45:00 PMWR44   WR44   Compliant           Taibi, Lawrence S; Grech, Andrew J         Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Dellenbaugh, Tyler N   1007441    C102A     2015-02-13 6:10:00 PM    2015-02-13C13C513
                                                                               6:45:00 PMWR44   WR44   Compliant           Taibi, Lawrence S; Grech, Andrew J         Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Birch, Mark M          0560158    59        2015-01-10 3:30:00 AM    2015-01-10C60C509
                                                                               4:45:00 AMRO21   RO21   Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Birch, Mark M          0560158    60        2015-01-10 3:30:00 AM    2015-01-10C60C509
                                                                               4:45:00 AMRO21   RO21   Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Birch, Mark M          0560158    72        2015-01-10 3:30:00 AM    2015-01-10C60C509
                                                                               4:45:00 AMRO21   RO21   Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Birch, Mark M          0560158    73        2015-01-10 3:30:00 AM    2015-01-10C60C509
                                                                               4:45:00 AMRO21   RO21   Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Birch, Mark M          0560158    215A      2015-01-10 3:30:00 AM    2015-01-10C60C509
                                                                               4:45:00 AMRO21   RO21   Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Birch, Mark M          0560158    215B      2015-01-10 3:30:00 AM    2015-01-10C60C509
                                                                               4:45:00 AMRO21   RO21   Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Birch, Mark M          0560158    225       2015-01-10 3:30:00 AM    2015-01-10C60C509
                                                                               4:45:00 AMRO21   RO21   Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Birch, Mark M          0560158    C102      2015-01-10 3:30:00 AM    2015-01-10C60C509
                                                                               4:45:00 AMRO21   RO21   Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Birch, Mark M          0560158    GR14D3    2015-01-10 3:30:00 AM    2015-01-10C60C509
                                                                               4:45:00 AMRO21   RO21   Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Birch, Mark M          0560158    SP5-1     2015-01-10 3:30:00 AM    2015-01-10C60C509
                                                                               4:45:00 AMRO21   RO21   Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Birch, Mark M          0560158    SP5-2-B   2015-01-10 3:30:00 AM    2015-01-10C60C509
                                                                               4:45:00 AMRO21   RO21   Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ervin, Keith M         0378777    59        2015-01-10 3:30:00 AM    2015-01-10C60C509
                                                                               4:45:00 AMRO21   RO21   Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ervin, Keith M         0378777    60        2015-01-10 3:30:00 AM    2015-01-10C60C509
                                                                               4:45:00 AMRO21   RO21   Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ervin, Keith M         0378777    72        2015-01-10 3:30:00 AM    2015-01-10C60C509
                                                                               4:45:00 AMRO21   RO21   Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ervin, Keith M         0378777    73        2015-01-10 3:30:00 AM    2015-01-10C60C509
                                                                               4:45:00 AMRO21   RO21   Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ervin, Keith M         0378777    215A      2015-01-10 3:30:00 AM    2015-01-10C60C509
                                                                               4:45:00 AMRO21   RO21   Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ervin, Keith M         0378777    215B      2015-01-10 3:30:00 AM    2015-01-10C60C509
                                                                               4:45:00 AMRO21   RO21   Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ervin, Keith M         0378777    225       2015-01-10 3:30:00 AM    2015-01-10C60C509
                                                                               4:45:00 AMRO21   RO21   Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ervin, Keith M         0378777    C102      2015-01-10 3:30:00 AM    2015-01-10C60C509
                                                                               4:45:00 AMRO21   RO21   Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ervin, Keith M         0378777    GR14D1    2015-01-10 3:30:00 AM    2015-01-10C60C509
                                                                               4:45:00 AMRO21   RO21   Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ervin, Keith M         0378777    SP5-1     2015-01-10 3:30:00 AM    2015-01-10C60C509
                                                                               4:45:00 AMRO21   RO21   Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ervin, Keith M         0378777    SP5-2-B   2015-01-10 3:30:00 AM    2015-01-10C60C509
                                                                               4:45:00 AMRO21   RO21   Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hall, Breck E          0128857    15        2015-01-10 2:30:00 AM    2015-01-10C19C509
                                                                               2:40:00 AMRO36   RO36   Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hall, Breck E          0128857    17        2015-01-10 2:30:00 AM    2015-01-10C19C509
                                                                               2:40:00 AMRO36   RO36   Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hall, Breck E          0128857    18        2015-01-10 2:30:00 AM    2015-01-10C19C509
                                                                               2:40:00 AMRO36   RO36   Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hall, Breck E          0128857    19        2015-01-10 2:30:00 AM    2015-01-10C19C509
                                                                               2:40:00 AMRO36   RO36   Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hall, Breck E          0128857    L207      2015-01-10 2:30:00 AM    2015-01-10C19C509
                                                                               2:40:00 AMRO36   RO36   Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hall, Breck E          0128857    SP5-1     2015-01-10 2:30:00 AM    2015-01-10C19C509
                                                                               2:40:00 AMRO36   RO36   Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Taylor, Shane C        0169842    SP5-1     2015-01-10 2:30:00 AM    2015-01-10C19C509
                                                                               2:40:00 AMRO36   RO36   Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Weil Jr, William R     0107038    501       2015-01-09 11:50:00 PM   2015-01-09DISP
                                                                               11:57:00 PM
                                                                                         0.0    0.0    Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Weil Jr, William R     0107038    503       2015-01-09 11:50:00 PM   2015-01-09DISP
                                                                               11:57:00 PM
                                                                                         0.0    0.0    Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Weil Jr, William R     0107038    504B      2015-01-09 11:50:00 PM   2015-01-09DISP
                                                                               11:57:00 PM
                                                                                         0.0    0.0    Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Weil Jr, William R     0107038    506A      2015-01-09 11:50:00 PM   2015-01-09DISP
                                                                               11:57:00 PM
                                                                                         0.0    0.0    Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Weil Jr, William R     0107038    506B      2015-01-09 11:50:00 PM   2015-01-09DISP
                                                                               11:57:00 PM
                                                                                         0.0    0.0    Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Sayson, David V        0767393    17        2015-01-09 9:30:00 PM    2015-01-09C17C509
                                                                               11:00:00 PM
                                                                                         DL4    DL4    Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Sayson, David V        0767393    19        2015-01-09 9:30:00 PM    2015-01-09C17C509
                                                                               11:00:00 PM
                                                                                         DL4    DL4    Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Sayson, David V        0767393    500A      2015-01-09 9:30:00 PM    2015-01-09C17C509
                                                                               11:00:00 PM
                                                                                         DL4    DL4    Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Sayson, David V        0767393    501       2015-01-09 9:30:00 PM    2015-01-09C17C509
                                                                               11:00:00 PM
                                                                                         DL4    DL4    Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Sayson, David V        0767393    SP5-2-A   2015-01-09 9:30:00 PM    2015-01-09C17C509
                                                                               11:00:00 PM
                                                                                         DL4    DL4    Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Sayson, David V        0767393    SP5-2-B   2015-01-09 9:30:00 PM    2015-01-09C17C509
                                                                               11:00:00 PM
                                                                                         DL4    DL4    Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Sayson, David V        0767393    SP5-2-C   2015-01-09 9:30:00 PM    2015-01-09C17C509
                                                                               11:00:00 PM
                                                                                         DL4    DL4    Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Sayson, David V        0767393    GR14D3    2015-01-09 9:30:00 PM    2015-01-09C17C509
                                                                               11:00:00 PM
                                                                                         DL4    DL4    Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Sayson, David V        0767393    185       2015-01-09 9:30:00 PM    2015-01-09C17C509
                                                                               11:00:00 PM
                                                                                         DL4    DL4    Letter of Caution   Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Sayson, David V        0767393    C102A     2015-01-09 9:30:00 PM    2015-01-09C17C509
                                                                               11:00:00 PM
                                                                                         DL4    DL4    Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Sayson, David V        0767393    L207      2015-01-09 9:30:00 PM    2015-01-09C17C509
                                                                               11:00:00 PM
                                                                                         DL4    DL4    Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Baccus, James J        0166818    500A      2015-01-09 9:30:00 PM    2015-01-09C17C509
                                                                               11:00:00 PM
                                                                                         DL4    DL4    Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Baccus, James J        0166818    501       2015-01-09 9:30:00 PM    2015-01-09C17C509
                                                                               11:00:00 PM
                                                                                         DL4    DL4    Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Baccus, James J        0166818    1100F     2015-01-09 9:30:00 PM    2015-01-09C17C509
                                                                               11:00:00 PM
                                                                                         DL4    DL4    Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Baccus, James J        0166818    1100G     2015-01-09 9:30:00 PM    2015-01-09C17C509
                                                                               11:00:00 PM
                                                                                         DL4    DL4    Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Baccus, James J        0166818    SP5-2-A   2015-01-09 9:30:00 PM    2015-01-09C17C509
                                                                               11:00:00 PM
                                                                                         DL4    DL4    Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Baccus, James J        0166818    SP5-2-B   2015-01-09 9:30:00 PM    2015-01-09C17C509
                                                                               11:00:00 PM
                                                                                         DL4    DL4    Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Baccus, James J        0166818    SP5-2-C   2015-01-09 9:30:00 PM    2015-01-09C17C509
                                                                               11:00:00 PM
                                                                                         DL4    DL4    Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Baccus, James J        0166818    GR14D1    2015-01-09 9:30:00 PM    2015-01-09C17C509
                                                                               11:00:00 PM
                                                                                         DL4    DL4    Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Baccus, James J        0166818    215A      2015-01-09 9:30:00 PM    2015-01-09C17C509
                                                                               11:00:00 PM
                                                                                         DL4    DL4    Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Baccus, James J        0166818    215B      2015-01-09 9:30:00 PM    2015-01-09C17C509
                                                                               11:00:00 PM
                                                                                         DL4    DL4    Letter of Caution   Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Baccus, James J        0166818    181       2015-01-09 9:30:00 PM    2015-01-09C17C509
                                                                               11:00:00 PM
                                                                                         DL4    DL4    Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Baccus, James J        0166818    182       2015-01-09 9:30:00 PM    2015-01-09C17C509
                                                                               11:00:00 PM
                                                                                         DL4    DL4    Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Baccus, James J        0166818    225       2015-01-09 9:30:00 PM    2015-01-09C17C509
                                                                               11:00:00 PM
                                                                                         DL4    DL4    Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Baccus, James J        0166818    C102A     2015-01-09 9:30:00 PM    2015-01-09C17C509
                                                                               11:00:00 PM
                                                                                         DL4    DL4    Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Weil Jr, William R     0107038    179B      2015-01-09 12:23:00 AM   2015-01-09DISP
                                                                               11:57:00 PM
                                                                                         0.0    0.0    Compliant           Glowinski, Michael J; Pridemore, Larry M   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Austin, Russel E       0118469    N292      2014-12-23 3:45:00 PM    2014-12-23C22C523
                                                                               4:00:00 PMPC23   PC23   Compliant           Taibi, Lawrence S; Grech, Andrew J         Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Rettig Jr, Jon W       0359058    N292      2014-12-23 3:45:00 PM    2014-12-23C22C523
                                                                               4:00:00 PMPC23   PC23   Compliant           Taibi, Lawrence S; Grech, Andrew J         Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Austin, Russel E       0118469    104-4     2014-12-23 3:15:00 PM    2014-12-23C22C523
                                                                               4:00:00 PMPC23   PC23   Compliant           Taibi, Lawrence S; Grech, Andrew J         Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Austin, Russel E       0118469    104A      2014-12-23 3:15:00 PM    2014-12-23C22C523
                                                                               4:00:00 PMPC23   PC23   Compliant           Taibi, Lawrence S; Grech, Andrew J         Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Austin, Russel E       0118469    105B      2014-12-23 3:15:00 PM    2014-12-23C22C523
                                                                               4:00:00 PMPC23   PC23   Compliant           Taibi, Lawrence S; Grech, Andrew J         Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Austin, Russel E       0118469    GR14D2    2014-12-23 3:15:00 PM    2014-12-23C22C523
                                                                               4:00:00 PMPC23   PC23   Compliant           Taibi, Lawrence S; Grech, Andrew J         Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Austin, Russel E       0118469    GR14D3    2014-12-23 3:15:00 PM    2014-12-23C22C523
                                                                               4:00:00 PMPC23   PC23   Compliant           Taibi, Lawrence S; Grech, Andrew J         Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Austin, Russel E       0118469    N290      2014-12-23 3:15:00 PM    2014-12-23C22C523
                                                                               4:00:00 PMPC23   PC23   Compliant           Taibi, Lawrence S; Grech, Andrew J         Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Austin, Russel E       0118469    SP5       2014-12-23 3:15:00 PM    2014-12-23C22C523
                                                                               4:00:00 PMPC23   PC23   Compliant           Taibi, Lawrence S; Grech, Andrew J         Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Austin, Russel E       0118469    SP5-2-B   2014-12-23 3:15:00 PM    2014-12-23C22C523
                                                                               4:00:00 PMPC23   PC23   Compliant           Taibi, Lawrence S; Grech, Andrew J         Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Rettig Jr, Jon W       0359058    103A      2014-12-23 3:15:00 PM    2014-12-23C22C523
                                                                               4:00:00 PMPC23   PC23   Compliant           Taibi, Lawrence S; Grech, Andrew J         Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Rettig Jr, Jon W       0359058    103B      2014-12-23 3:15:00 PM    2014-12-23C22C523
                                                                               4:00:00 PMPC23   PC23   Compliant           Taibi, Lawrence S; Grech, Andrew J         Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Rettig Jr, Jon W       0359058    104-4     2014-12-23 3:15:00 PM    2014-12-23C22C523
                                                                               4:00:00 PMPC23   PC23   Compliant           Taibi, Lawrence S; Grech, Andrew J         Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Rettig Jr, Jon W       0359058    104A      2014-12-23 3:15:00 PM    2014-12-23C22C523
                                                                               4:00:00 PMPC23   PC23   Compliant           Taibi, Lawrence S; Grech, Andrew J         Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Rettig Jr, Jon W       0359058    104B      2014-12-23 3:15:00 PM    2014-12-23C22C523
                                                                               4:00:00 PMPC23   PC23   Compliant           Taibi, Lawrence S; Grech, Andrew J         Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
                           Case: 2:17-cv-01151-JLG-EPD Doc #: 99-1 Filed: 03/31/20 Page: 29 of 44 PAGEID #: 1328



Rettig Jr, Jon W        0359058    104D      2014-12-23 3:15:00 PM    2014-12-23C22C523
                                                                                4:00:00 PMPC23   PC23   Compliant        Taibi, Lawrence S; Grech, Andrew J                        Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Rettig Jr, Jon W        0359058    104L      2014-12-23 3:15:00 PM    2014-12-23C22C523
                                                                                4:00:00 PMPC23   PC23   Compliant        Taibi, Lawrence S; Grech, Andrew J                        Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Rettig Jr, Jon W        0359058    105B      2014-12-23 3:15:00 PM    2014-12-23C22C523
                                                                                4:00:00 PMPC23   PC23   Compliant        Taibi, Lawrence S; Grech, Andrew J                        Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Rettig Jr, Jon W        0359058    GR14D1    2014-12-23 3:15:00 PM    2014-12-23C22C523
                                                                                4:00:00 PMPC23   PC23   Compliant        Taibi, Lawrence S; Grech, Andrew J                        Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Rettig Jr, Jon W        0359058    GR14D2    2014-12-23 3:15:00 PM    2014-12-23C22C523
                                                                                4:00:00 PMPC23   PC23   Compliant        Taibi, Lawrence S; Grech, Andrew J                        Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Rettig Jr, Jon W        0359058    GR14D3    2014-12-23 3:15:00 PM    2014-12-23C22C523
                                                                                4:00:00 PMPC23   PC23   Compliant        Taibi, Lawrence S; Grech, Andrew J                        Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Rettig Jr, Jon W        0359058    N290      2014-12-23 3:15:00 PM    2014-12-23C22C523
                                                                                4:00:00 PMPC23   PC23   Compliant        Taibi, Lawrence S; Grech, Andrew J                        Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Rettig Jr, Jon W        0359058    SP5       2014-12-23 3:15:00 PM    2014-12-23C22C523
                                                                                4:00:00 PMPC23   PC23   Compliant        Taibi, Lawrence S; Grech, Andrew J                        Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Rettig Jr, Jon W        0359058    SP5-2-B   2014-12-23 3:15:00 PM    2014-12-23C22C523
                                                                                4:00:00 PMPC23   PC23   Compliant        Taibi, Lawrence S; Grech, Andrew J                        Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hoffman, Christian D    0560184    17        2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hoffman, Christian D    0560184    18        2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hoffman, Christian D    0560184    104-4     2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hoffman, Christian D    0560184    104A      2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hoffman, Christian D    0560184    501       2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hoffman, Christian D    0560184    504       2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hoffman, Christian D    0560184    505       2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hoffman, Christian D    0560184    506       2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A         0168246    17        2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A         0168246    18        2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A         0168246    103A      2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A         0168246    103B      2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A         0168246    104-4     2014-12-17 11:55:00 PM   2014-12-18C17C517
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                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A         0168246    104A      2014-12-17 11:55:00 PM   2014-12-18C17C517
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                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A         0168246    104B      2014-12-17 11:55:00 PM   2014-12-18C17C517
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                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A         0168246    104D      2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A         0168246    109A      2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A         0168246    501       2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A         0168246    504       2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A         0168246    505       2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A         0168246    506       2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A         0168246    509A      2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A         0168246    509B      2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A         0168246    1040      2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A         0168246    1045      2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A         0168246    1050      2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A         0168246    1050A     2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A         0168246    1070      2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hays, Jeffrey A         0168246    1080      2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hess, Steve             1006796    17        2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hess, Steve             1006796    18        2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hess, Steve             1006796    103A      2014-12-17 11:55:00 PM   2014-12-18C17C517
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                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hess, Steve             1006796    103B      2014-12-17 11:55:00 PM   2014-12-18C17C517
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                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hess, Steve             1006796    104-4     2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hess, Steve             1006796    104A      2014-12-17 11:55:00 PM   2014-12-18C17C517
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                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hess, Steve             1006796    104B      2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hess, Steve             1006796    104D      2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hess, Steve             1006796    109A      2014-12-17 11:55:00 PM   2014-12-18C17C517
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Hess, Steve             1006796    501       2014-12-17 11:55:00 PM   2014-12-18C17C517
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Hess, Steve             1006796    504       2014-12-17 11:55:00 PM   2014-12-18C17C517
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                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hess, Steve             1006796    505       2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hess, Steve             1006796    506       2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hess, Steve             1006796    509A      2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hess, Steve             1006796    509B      2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hess, Steve             1006796    1040      2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hess, Steve             1006796    1045      2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hess, Steve             1006796    1050      2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hess, Steve             1006796    1050A     2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hess, Steve             1006796    1070      2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hess, Steve             1006796    1080      2014-12-17 11:55:00 PM   2014-12-18C17C517
                                                                                12:15:00 AM
                                                                                          DL4    DL4    Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Woolley Jr, Michael D   0118728    B         2014-12-17 11:00:00 PM   2014-12-17C19C517
                                                                                11:35:00 PM
                                                                                          RO21   RO21   START Handling   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Taylor, Shane C         0169842    B         2014-12-17 11:00:00 PM   2014-12-17C19C517
                                                                                11:35:00 PM
                                                                                          RO21   RO21   START Handling   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Vizyak, Mark A          0650552    571B      2014-12-17 11:00:00 PM   2014-12-17C19C517
                                                                                11:35:00 PM
                                                                                          RO21   RO21   Formal Hearing   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Czup, Mark A            0767216    17        2014-12-17 10:01:00 PM   2014-12-17C91C517
                                                                                10:30:00 PM
                                                                                          RO21   RO21   Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Czup, Mark A            0767216    18        2014-12-17 10:01:00 PM   2014-12-17C91C517
                                                                                10:30:00 PM
                                                                                          RO21   RO21   Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Czup, Mark A            0767216    104-4     2014-12-17 10:01:00 PM   2014-12-17C91C517
                                                                                10:30:00 PM
                                                                                          RO21   RO21   Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Czup, Mark A            0767216    104A      2014-12-17 10:01:00 PM   2014-12-17C91C517
                                                                                10:30:00 PM
                                                                                          RO21   RO21   Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Czup, Mark A            0767216    109A      2014-12-17 10:01:00 PM   2014-12-17C91C517
                                                                                10:30:00 PM
                                                                                          RO21   RO21   Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Reynolds, Brian L       0317282    17        2014-12-17 10:01:00 PM   2014-12-17C91C517
                                                                                10:30:00 PM
                                                                                          RO21   RO21   Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Reynolds, Brian L       0317282    18        2014-12-17 10:01:00 PM   2014-12-17C91C517
                                                                                10:30:00 PM
                                                                                          RO21   RO21   Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Reynolds, Brian L       0317282    103A      2014-12-17 10:01:00 PM   2014-12-17C91C517
                                                                                10:30:00 PM
                                                                                          RO21   RO21   Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Reynolds, Brian L       0317282    103B      2014-12-17 10:01:00 PM   2014-12-17C91C517
                                                                                10:30:00 PM
                                                                                          RO21   RO21   Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Reynolds, Brian L       0317282    104-4     2014-12-17 10:01:00 PM   2014-12-17C91C517
                                                                                10:30:00 PM
                                                                                          RO21   RO21   Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Reynolds, Brian L       0317282    104A      2014-12-17 10:01:00 PM   2014-12-17C91C517
                                                                                10:30:00 PM
                                                                                          RO21   RO21   Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Reynolds, Brian L       0317282    104B      2014-12-17 10:01:00 PM   2014-12-17C91C517
                                                                                10:30:00 PM
                                                                                          RO21   RO21   Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Reynolds, Brian L       0317282    104D      2014-12-17 10:01:00 PM   2014-12-17C91C517
                                                                                10:30:00 PM
                                                                                          RO21   RO21   Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Reynolds, Brian L       0317282    105-1     2014-12-17 10:01:00 PM   2014-12-17C91C517
                                                                                10:30:00 PM
                                                                                          RO21   RO21   Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Reynolds, Brian L       0317282    109A      2014-12-17 10:01:00 PM   2014-12-17C91C517
                                                                                10:30:00 PM
                                                                                          RO21   RO21   Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Reynolds, Brian L       0317282    1040      2014-12-17 10:01:00 PM   2014-12-17C91C517
                                                                                10:30:00 PM
                                                                                          RO21   RO21   Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Reynolds, Brian L       0317282    1045      2014-12-17 10:01:00 PM   2014-12-17C91C517
                                                                                10:30:00 PM
                                                                                          RO21   RO21   Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Reynolds, Brian L       0317282    1070      2014-12-17 10:01:00 PM   2014-12-17C91C517
                                                                                10:30:00 PM
                                                                                          RO21   RO21   Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Reynolds, Brian L       0317282    1080      2014-12-17 10:01:00 PM   2014-12-17C91C517
                                                                                10:30:00 PM
                                                                                          RO21   RO21   Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ingram, Clay R          0169835    103A      2014-12-17 9:00:00 PM    2014-12-17CJ20
                                                                                9:30:00 PMRO21   RO21   Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ingram, Clay R          0169835    103B      2014-12-17 9:00:00 PM    2014-12-17CJ20
                                                                                9:30:00 PMRO21   RO21   Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ingram, Clay R          0169835    104A      2014-12-17 9:00:00 PM    2014-12-17CJ20
                                                                                9:30:00 PMRO21   RO21   Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ingram, Clay R          0169835    104B      2014-12-17 9:00:00 PM    2014-12-17CJ20
                                                                                9:30:00 PMRO21   RO21   Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ingram, Clay R          0169835    104D      2014-12-17 9:00:00 PM    2014-12-17CJ20
                                                                                9:30:00 PMRO21   RO21   Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ingram, Clay R          0169835    105A      2014-12-17 9:00:00 PM    2014-12-17CJ20
                                                                                9:30:00 PMRO21   RO21   Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ingram, Clay R          0169835    1040      2014-12-17 9:00:00 PM    2014-12-17CJ20
                                                                                9:30:00 PMRO21   RO21   Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
                            Case: 2:17-cv-01151-JLG-EPD Doc #: 99-1 Filed: 03/31/20 Page: 30 of 44 PAGEID #: 1329



Ingram, Clay R           0169835    1080      2014-12-17 9:00:00 PM   2014-12-17CJ20
                                                                                9:30:00 PMRO21   RO21   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ingram, Clay R           0169835    1100F     2014-12-17 9:00:00 PM   2014-12-17CJ20
                                                                                9:30:00 PMRO21   RO21   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ingram, Clay R           0169835    RC2.0A    2014-12-17 9:00:00 PM   2014-12-17CJ20
                                                                                9:30:00 PMRO21   RO21   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ingram, Clay R           0169835    RC2.0C    2014-12-17 9:00:00 PM   2014-12-17CJ20
                                                                                9:30:00 PMRO21   RO21   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ingram, Clay R           0169835    RC2.0D    2014-12-17 9:00:00 PM   2014-12-17CJ20
                                                                                9:30:00 PMRO21   RO21   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ingram, Clay R           0169835    RC2.0E    2014-12-17 9:00:00 PM   2014-12-17CJ20
                                                                                9:30:00 PMRO21   RO21   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ingram, Clay R           0169835    RC2.0F    2014-12-17 9:00:00 PM   2014-12-17CJ20
                                                                                9:30:00 PMRO21   RO21   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ingram, Clay R           0169835    RC2.0G    2014-12-17 9:00:00 PM   2014-12-17CJ20
                                                                                9:30:00 PMRO21   RO21   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ingram, Clay R           0169835    RC2.0H    2014-12-17 9:00:00 PM   2014-12-17CJ20
                                                                                9:30:00 PMRO21   RO21   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ingram, Clay R           0169835    RC7.0A    2014-12-17 9:00:00 PM   2014-12-17CJ20
                                                                                9:30:00 PMRO21   RO21   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Timcho, George M         0316225    103A      2014-12-17 9:00:00 PM   2014-12-17CJ20
                                                                                9:30:00 PMRO21   RO21   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Timcho, George M         0316225    103B      2014-12-17 9:00:00 PM   2014-12-17CJ20
                                                                                9:30:00 PMRO21   RO21   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Timcho, George M         0316225    104A      2014-12-17 9:00:00 PM   2014-12-17CJ20
                                                                                9:30:00 PMRO21   RO21   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Timcho, George M         0316225    104B      2014-12-17 9:00:00 PM   2014-12-17CJ20
                                                                                9:30:00 PMRO21   RO21   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Timcho, George M         0316225    104D      2014-12-17 9:00:00 PM   2014-12-17CJ20
                                                                                9:30:00 PMRO21   RO21   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Timcho, George M         0316225    105A      2014-12-17 9:00:00 PM   2014-12-17CJ20
                                                                                9:30:00 PMRO21   RO21   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Timcho, George M         0316225    1040      2014-12-17 9:00:00 PM   2014-12-17CJ20
                                                                                9:30:00 PMRO21   RO21   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Timcho, George M         0316225    1080      2014-12-17 9:00:00 PM   2014-12-17CJ20
                                                                                9:30:00 PMRO21   RO21   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Timcho, George M         0316225    1100F     2014-12-17 9:00:00 PM   2014-12-17CJ20
                                                                                9:30:00 PMRO21   RO21   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Timcho, George M         0316225    RC2.0A    2014-12-17 9:00:00 PM   2014-12-17CJ20
                                                                                9:30:00 PMRO21   RO21   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Timcho, George M         0316225    RC2.0C    2014-12-17 9:00:00 PM   2014-12-17CJ20
                                                                                9:30:00 PMRO21   RO21   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Timcho, George M         0316225    RC2.0D    2014-12-17 9:00:00 PM   2014-12-17CJ20
                                                                                9:30:00 PMRO21   RO21   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Timcho, George M         0316225    RC2.0E    2014-12-17 9:00:00 PM   2014-12-17CJ20
                                                                                9:30:00 PMRO21   RO21   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Timcho, George M         0316225    RC2.0F    2014-12-17 9:00:00 PM   2014-12-17CJ20
                                                                                9:30:00 PMRO21   RO21   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Timcho, George M         0316225    RC2.0G    2014-12-17 9:00:00 PM   2014-12-17CJ20
                                                                                9:30:00 PMRO21   RO21   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Timcho, George M         0316225    RC2.0H    2014-12-17 9:00:00 PM   2014-12-17CJ20
                                                                                9:30:00 PMRO21   RO21   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Timcho, George M         0316225    RC7.0A    2014-12-17 9:00:00 PM   2014-12-17CJ20
                                                                                9:30:00 PMRO21   RO21   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Murray II, James J       0767496    104-4     2014-12-17 8:00:00 PM   2014-12-17C13C517
                                                                                8:30:00 PMWR41   WR41   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Murray II, James J       0767496    104A      2014-12-17 8:00:00 PM   2014-12-17C13C517
                                                                                8:30:00 PMWR41   WR41   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Murray II, James J       0767496    109A      2014-12-17 8:00:00 PM   2014-12-17C13C517
                                                                                8:30:00 PMWR41   WR41   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Murray II, James J       0767496    501       2014-12-17 8:00:00 PM   2014-12-17C13C517
                                                                                8:30:00 PMWR41   WR41   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Murray II, James J       0767496    504       2014-12-17 8:00:00 PM   2014-12-17C13C517
                                                                                8:30:00 PMWR41   WR41   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Murray II, James J       0767496    505       2014-12-17 8:00:00 PM   2014-12-17C13C517
                                                                                8:30:00 PMWR41   WR41   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Murray II, James J       0767496    506       2014-12-17 8:00:00 PM   2014-12-17C13C517
                                                                                8:30:00 PMWR41   WR41   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Murray II, James J       0767496    C102A     2014-12-17 8:00:00 PM   2014-12-17C13C517
                                                                                8:30:00 PMWR41   WR41   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Murray II, James J       0767496    GR14D2    2014-12-17 8:00:00 PM   2014-12-17C13C517
                                                                                8:30:00 PMWR41   WR41   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Murray II, James J       0767496    GR14D3    2014-12-17 8:00:00 PM   2014-12-17C13C517
                                                                                8:30:00 PMWR41   WR41   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Johnson, Jesse M         0168232    103A      2014-12-17 8:00:00 PM   2014-12-17C13C517
                                                                                8:30:00 PMWR41   WR41   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Johnson, Jesse M         0168232    103B      2014-12-17 8:00:00 PM   2014-12-17C13C517
                                                                                8:30:00 PMWR41   WR41   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Johnson, Jesse M         0168232    104-4     2014-12-17 8:00:00 PM   2014-12-17C13C517
                                                                                8:30:00 PMWR41   WR41   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Johnson, Jesse M         0168232    104A      2014-12-17 8:00:00 PM   2014-12-17C13C517
                                                                                8:30:00 PMWR41   WR41   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Johnson, Jesse M         0168232    104B      2014-12-17 8:00:00 PM   2014-12-17C13C517
                                                                                8:30:00 PMWR41   WR41   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Johnson, Jesse M         0168232    104D      2014-12-17 8:00:00 PM   2014-12-17C13C517
                                                                                8:30:00 PMWR41   WR41   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Johnson, Jesse M         0168232    105-1     2014-12-17 8:00:00 PM   2014-12-17C13C517
                                                                                8:30:00 PMWR41   WR41   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Johnson, Jesse M         0168232    105B      2014-12-17 8:00:00 PM   2014-12-17C13C517
                                                                                8:30:00 PMWR41   WR41   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Johnson, Jesse M         0168232    109A      2014-12-17 8:00:00 PM   2014-12-17C13C517
                                                                                8:30:00 PMWR41   WR41   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Johnson, Jesse M         0168232    501       2014-12-17 8:00:00 PM   2014-12-17C13C517
                                                                                8:30:00 PMWR41   WR41   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Johnson, Jesse M         0168232    504       2014-12-17 8:00:00 PM   2014-12-17C13C517
                                                                                8:30:00 PMWR41   WR41   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Johnson, Jesse M         0168232    505       2014-12-17 8:00:00 PM   2014-12-17C13C517
                                                                                8:30:00 PMWR41   WR41   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Johnson, Jesse M         0168232    506       2014-12-17 8:00:00 PM   2014-12-17C13C517
                                                                                8:30:00 PMWR41   WR41   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Johnson, Jesse M         0168232    509A      2014-12-17 8:00:00 PM   2014-12-17C13C517
                                                                                8:30:00 PMWR41   WR41   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Johnson, Jesse M         0168232    509B      2014-12-17 8:00:00 PM   2014-12-17C13C517
                                                                                8:30:00 PMWR41   WR41   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Johnson, Jesse M         0168232    1040      2014-12-17 8:00:00 PM   2014-12-17C13C517
                                                                                8:30:00 PMWR41   WR41   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Johnson, Jesse M         0168232    C102A     2014-12-17 8:00:00 PM   2014-12-17C13C517
                                                                                8:30:00 PMWR41   WR41   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Johnson, Jesse M         0168232    GR14D1    2014-12-17 8:00:00 PM   2014-12-17C13C517
                                                                                8:30:00 PMWR41   WR41   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Glover, Fortune Q        0240719    19        2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17   NW17   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Glover, Fortune Q        0240719    104-4     2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17   NW17   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Glover, Fortune Q        0240719    109A      2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17   NW17   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Glover, Fortune Q        0240719    501       2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17   NW17   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Glover, Fortune Q        0240719    504       2014-12-17 6:15:00 PM   2014-12-17C14C517
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Glover, Fortune Q        0240719    505       2014-12-17 6:15:00 PM   2014-12-17C14C517
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Glover, Fortune Q        0240719    506       2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17   NW17   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Glover, Fortune Q        0240719    509A      2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17   NW17   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Glover, Fortune Q        0240719    509B      2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17   NW17   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Glover, Fortune Q        0240719    520       2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17   NW17   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Glover, Fortune Q        0240719    A31B      2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17   NW17   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Glover, Fortune Q        0240719    C102A     2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17   NW17   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Glover, Fortune Q        0240719    C103      2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17   NW17   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Glover, Fortune Q        0240719    GR14D2    2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17   NW17   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Glover, Fortune Q        0240719    GR14D3    2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17   NW17   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Glover, Fortune Q        0240719    SP5-1     2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17   NW17   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Glover, Fortune Q        0240719    SP5-2-B   2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17   NW17   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    19        2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17   NW17   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    103A      2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17   NW17   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    103B      2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17   NW17   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    104-4     2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17   NW17   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    104A      2014-12-17 6:15:00 PM   2014-12-17C14C517
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Lindsey, Christopher D   0167791    104B      2014-12-17 6:15:00 PM   2014-12-17C14C517
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Lindsey, Christopher D   0167791    104D      2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17   NW17   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    105A      2014-12-17 6:15:00 PM   2014-12-17C14C517
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Lindsey, Christopher D   0167791    105B      2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17   NW17   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    109A      2014-12-17 6:15:00 PM   2014-12-17C14C517
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Lindsey, Christopher D   0167791    501       2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17   NW17   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    504       2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17   NW17   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    505       2014-12-17 6:15:00 PM   2014-12-17C14C517
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Lindsey, Christopher D   0167791    506       2014-12-17 6:15:00 PM   2014-12-17C14C517
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Lindsey, Christopher D   0167791    509A      2014-12-17 6:15:00 PM   2014-12-17C14C517
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Lindsey, Christopher D   0167791    509B      2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17   NW17   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
                            Case: 2:17-cv-01151-JLG-EPD Doc #: 99-1 Filed: 03/31/20 Page: 31 of 44 PAGEID #: 1330



Lindsey, Christopher D   0167791    520       2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    1040      2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    1045      2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    1050      2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    1070      2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    1072      2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    1100F     2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    1110      2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    1110B     2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    1110C     2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    1110D     2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    A31B      2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    C102A     2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    C103      2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    GR14D1    2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    SP5-1     2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Lindsey, Christopher D   0167791    SP5-2-B   2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    19        2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    103A      2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    103B      2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    104-4     2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    104A      2014-12-17 6:15:00 PM   2014-12-17C14C517
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Ross, James M            0158341    104B      2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    104D      2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    105A      2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    105B      2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    109A      2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    501       2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    504       2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    505       2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    506       2014-12-17 6:15:00 PM   2014-12-17C14C517
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Ross, James M            0158341    509A      2014-12-17 6:15:00 PM   2014-12-17C14C517
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Ross, James M            0158341    509B      2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    520       2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    1040      2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    1045      2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    1050      2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    1070      2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    1072      2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    1100F     2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    1110      2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    1110B     2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    1110C     2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    1110D     2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    A31B      2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    C102A     2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    C103      2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    GR14D2    2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    GR14D3    2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    SP5-1     2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Ross, James M            0158341    SP5-2-B   2014-12-17 6:15:00 PM   2014-12-17C14C517
                                                                                7:35:00 PMNW17     NW17     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hugney, Anthony O        0118721    19        2014-12-17 4:25:00 PM   2014-12-17C21C515
                                                                                5:00:00 PMRO18     RO18     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hugney, Anthony O        0118721    172       2014-12-17 4:25:00 PM   2014-12-17C21C515
                                                                                5:00:00 PMRO18     RO18     START Handling   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hugney, Anthony O        0118721    177       2014-12-17 4:25:00 PM   2014-12-17C21C515
                                                                                5:00:00 PMRO18     RO18     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hugney, Anthony O        0118721    178       2014-12-17 4:25:00 PM   2014-12-17C21C515
                                                                                5:00:00 PMRO18     RO18     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hugney, Anthony O        0118721    179C      2014-12-17 4:25:00 PM   2014-12-17C21C515
                                                                                5:00:00 PMRO18     RO18     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hugney, Anthony O        0118721    179E      2014-12-17 4:25:00 PM   2014-12-17C21C515
                                                                                5:00:00 PMRO18     RO18     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hugney, Anthony O        0118721    179F      2014-12-17 4:25:00 PM   2014-12-17C21C515
                                                                                5:00:00 PMRO18     RO18     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hugney, Anthony O        0118721    501       2014-12-17 4:25:00 PM   2014-12-17C21C515
                                                                                5:00:00 PMRO18     RO18     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hugney, Anthony O        0118721    504       2014-12-17 4:25:00 PM   2014-12-17C21C515
                                                                                5:00:00 PMRO18     RO18     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hugney, Anthony O        0118721    505       2014-12-17 4:25:00 PM   2014-12-17C21C515
                                                                                5:00:00 PMRO18     RO18     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hugney, Anthony O        0118721    506       2014-12-17 4:25:00 PM   2014-12-17C21C515
                                                                                5:00:00 PMRO18     RO18     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hugney, Anthony O        0118721    BANNER    2014-12-17 4:25:00 PM   2014-12-17C21C515
                                                                                5:00:00 PMRO18     RO18     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hugney, Anthony O        0118721    G         2014-12-17 4:25:00 PM   2014-12-17C21C515
                                                                                5:00:00 PMRO18     RO18     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hugney, Anthony O        0118721    SP5-1     2014-12-17 4:25:00 PM   2014-12-17C21C515
                                                                                5:00:00 PMRO18     RO18     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Hugney, Anthony O        0118721    SP5-2-B   2014-12-17 4:25:00 PM   2014-12-17C21C515
                                                                                5:00:00 PMRO18     RO18     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Joy, Frederick V         0317303    19        2014-12-17 4:25:00 PM   2014-12-17C21C515
                                                                                5:00:00 PMRO18     RO18     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Joy, Frederick V         0317303    172       2014-12-17 4:25:00 PM   2014-12-17C21C515
                                                                                5:00:00 PMRO18     RO18     START Handling   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Joy, Frederick V         0317303    177       2014-12-17 4:25:00 PM   2014-12-17C21C515
                                                                                5:00:00 PMRO18     RO18     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Joy, Frederick V         0317303    178       2014-12-17 4:25:00 PM   2014-12-17C21C515
                                                                                5:00:00 PMRO18     RO18     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Joy, Frederick V         0317303    179C      2014-12-17 4:25:00 PM   2014-12-17C21C515
                                                                                5:00:00 PMRO18     RO18     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Joy, Frederick V         0317303    179E      2014-12-17 4:25:00 PM   2014-12-17C21C515
                                                                                5:00:00 PMRO18     RO18     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Joy, Frederick V         0317303    179F      2014-12-17 4:25:00 PM   2014-12-17C21C515
                                                                                5:00:00 PMRO18     RO18     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Joy, Frederick V         0317303    501       2014-12-17 4:25:00 PM   2014-12-17C21C515
                                                                                5:00:00 PMRO18     RO18     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Joy, Frederick V         0317303    504       2014-12-17 4:25:00 PM   2014-12-17C21C515
                                                                                5:00:00 PMRO18     RO18     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Joy, Frederick V         0317303    505       2014-12-17 4:25:00 PM   2014-12-17C21C515
                                                                                5:00:00 PMRO18     RO18     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Joy, Frederick V         0317303    506       2014-12-17 4:25:00 PM   2014-12-17C21C515
                                                                                5:00:00 PMRO18     RO18     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Joy, Frederick V         0317303    BANNER    2014-12-17 4:25:00 PM   2014-12-17C21C515
                                                                                5:00:00 PMRO18     RO18     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Joy, Frederick V         0317303    G         2014-12-17 4:25:00 PM   2014-12-17C21C515
                                                                                5:00:00 PMRO18     RO18     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Joy, Frederick V         0317303    SP5-1     2014-12-17 4:25:00 PM   2014-12-17C21C515
                                                                                5:00:00 PMRO18     RO18     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Joy, Frederick V         0317303    SP5-2-B   2014-12-17 4:25:00 PM   2014-12-17C21C515
                                                                                5:00:00 PMRO18     RO18     Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Sayson, David V          0767393    14L       2014-12-17 3:55:00 PM   2014-12-17C10C517
                                                                                4:20:00 PMRO16.4   RO16.4   Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Sayson, David V          0767393    15        2014-12-17 3:55:00 PM   2014-12-17C10C517
                                                                                4:20:00 PMRO16.4   RO16.4   Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Sayson, David V          0767393    19        2014-12-17 3:55:00 PM   2014-12-17C10C517
                                                                                4:20:00 PMRO16.4   RO16.4   Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Baccus, James J          0166818    14L       2014-12-17 3:55:00 PM   2014-12-17C10C517
                                                                                4:20:00 PMRO16.4   RO16.4   Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Baccus, James J          0166818    15        2014-12-17 3:55:00 PM   2014-12-17C10C517
                                                                                4:20:00 PMRO16.4   RO16.4   Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Baccus, James J          0166818    19        2014-12-17 3:55:00 PM   2014-12-17C10C517
                                                                                4:20:00 PMRO16.4   RO16.4   Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Baccus, James J          0166818    172       2014-12-17 3:55:00 PM   2014-12-17C10C517
                                                                                4:20:00 PMRO16.4   RO16.4   Compliant        Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
                             Case: 2:17-cv-01151-JLG-EPD Doc #: 99-1 Filed: 03/31/20 Page: 32 of 44 PAGEID #: 1331



Baccus, James J           0166818    178      2014-12-17 3:55:00 PM   2014-12-17C10C517
                                                                                4:20:00 PMRO16.4   RO16.4   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Baccus, James J           0166818    181      2014-12-17 3:55:00 PM   2014-12-17C10C517
                                                                                4:20:00 PMRO16.4   RO16.4   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Baccus, James J           0166818    501      2014-12-17 3:55:00 PM   2014-12-17C10C517
                                                                                4:20:00 PMRO16.4   RO16.4   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Baccus, James J           0166818    504      2014-12-17 3:55:00 PM   2014-12-17C10C517
                                                                                4:20:00 PMRO16.4   RO16.4   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Baccus, James J           0166818    505      2014-12-17 3:55:00 PM   2014-12-17C10C517
                                                                                4:20:00 PMRO16.4   RO16.4   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Baccus, James J           0166818    506      2014-12-17 3:55:00 PM   2014-12-17C10C517
                                                                                4:20:00 PMRO16.4   RO16.4   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Yanssens, Roger A         0214034    104-4    2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Yanssens, Roger A         0214034    109A     2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Yanssens, Roger A         0214034    501      2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Yanssens, Roger A         0214034    504      2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Yanssens, Roger A         0214034    505      2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Yanssens, Roger A         0214034    506      2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Yanssens, Roger A         0214034    509A     2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Yanssens, Roger A         0214034    509B     2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Yanssens, Roger A         0214034    A31F3    2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Yanssens, Roger A         0214034    A31G     2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Yanssens, Roger A         0214034    A31I4    2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Yanssens, Roger A         0214034    GR14D2   2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Yanssens, Roger A         0214034    GR14D3   2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Barber, Tonya S           0175897    103A     2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Barber, Tonya S           0175897    103B     2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Barber, Tonya S           0175897    104-4    2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Barber, Tonya S           0175897    104A     2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Barber, Tonya S           0175897    104B     2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Barber, Tonya S           0175897    104D     2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Barber, Tonya S           0175897    105-1    2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Barber, Tonya S           0175897    105A     2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Barber, Tonya S           0175897    105B     2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Barber, Tonya S           0175897    109A     2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Barber, Tonya S           0175897    501      2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Barber, Tonya S           0175897    504      2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Barber, Tonya S           0175897    505      2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Barber, Tonya S           0175897    506      2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Barber, Tonya S           0175897    509A     2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Barber, Tonya S           0175897    509B     2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Barber, Tonya S           0175897    1040     2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Barber, Tonya S           0175897    1050     2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Barber, Tonya S           0175897    1100F    2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Barber, Tonya S           0175897    1110     2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Barber, Tonya S           0175897    1110B    2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Barber, Tonya S           0175897    1110C    2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Barber, Tonya S           0175897    1110D    2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Barber, Tonya S           0175897    A31F3    2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Barber, Tonya S           0175897    A31G     2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Barber, Tonya S           0175897    A31I4    2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Barber, Tonya S           0175897    GR14D1   2014-12-17 2:45:00 PM   2014-12-17C12C517
                                                                                3:15:00 PMRO21     RO21     Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Tatgenhorst II, Bruce A   0560096    14L      2014-12-17 1:55:00 PM   2014-12-17C16C517
                                                                                2:10:00 PMWR42.7   WR42.7   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Tatgenhorst II, Bruce A   0560096    15       2014-12-17 1:55:00 PM   2014-12-17C16C517
                                                                                2:10:00 PMWR42.7   WR42.7   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Tatgenhorst II, Bruce A   0560096    19       2014-12-17 1:55:00 PM   2014-12-17C16C517
                                                                                2:10:00 PMWR42.7   WR42.7   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Tatgenhorst II, Bruce A   0560096    A31B     2014-12-17 1:55:00 PM   2014-12-17C16C517
                                                                                2:10:00 PMWR42.7   WR42.7   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Tatgenhorst II, Bruce A   0560096    L207     2014-12-17 1:55:00 PM   2014-12-17C16C517
                                                                                2:10:00 PMWR42.7   WR42.7   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Tatgenhorst II, Bruce A   0560096    L217     2014-12-17 1:55:00 PM   2014-12-17C16C517
                                                                                2:10:00 PMWR42.7   WR42.7   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Clary, Chad D             0126533    14L      2014-12-17 1:55:00 PM   2014-12-17C16C517
                                                                                2:10:00 PMWR42.7   WR42.7   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Clary, Chad D             0126533    15       2014-12-17 1:55:00 PM   2014-12-17C16C517
                                                                                2:10:00 PMWR42.7   WR42.7   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Clary, Chad D             0126533    19       2014-12-17 1:55:00 PM   2014-12-17C16C517
                                                                                2:10:00 PMWR42.7   WR42.7   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Clary, Chad D             0126533    A31B     2014-12-17 1:55:00 PM   2014-12-17C16C517
                                                                                2:10:00 PMWR42.7   WR42.7   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Clary, Chad D             0126533    L207     2014-12-17 1:55:00 PM   2014-12-17C16C517
                                                                                2:10:00 PMWR42.7   WR42.7   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Clary, Chad D             0126533    L217     2014-12-17 1:55:00 PM   2014-12-17C16C517
                                                                                2:10:00 PMWR42.7   WR42.7   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Cutri, Anthony M          0139798    14L      2014-12-17 1:55:00 PM   2014-12-17C16C517
                                                                                2:10:00 PMWR42.7   WR42.7   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Cutri, Anthony M          0139798    15       2014-12-17 1:55:00 PM   2014-12-17C16C517
                                                                                2:10:00 PMWR42.7   WR42.7   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Cutri, Anthony M          0139798    19       2014-12-17 1:55:00 PM   2014-12-17C16C517
                                                                                2:10:00 PMWR42.7   WR42.7   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
Cutri, Anthony M          0139798    A31B     2014-12-17 1:55:00 PM   2014-12-17C16C517
                                                                                2:10:00 PMWR42.7   WR42.7   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
D'andrea, Dustin T        1006681    14L      2014-12-17 1:55:00 PM   2014-12-17C16C517
                                                                                2:10:00 PMWR42.7   WR42.7   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
D'andrea, Dustin T        1006681    15       2014-12-17 1:55:00 PM   2014-12-17C16C517
                                                                                2:10:00 PMWR42.7   WR42.7   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
D'andrea, Dustin T        1006681    19       2014-12-17 1:55:00 PM   2014-12-17C16C517
                                                                                2:10:00 PMWR42.7   WR42.7   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
D'andrea, Dustin T        1006681    A31B     2014-12-17 1:55:00 PM   2014-12-17C16C517
                                                                                2:10:00 PMWR42.7   WR42.7   Compliant   Grech, Andrew J; Pequignot, Craig M; Casillo, Anthony S   Saturation   Test   No   Default   MINGO JUNCTION (9/21/07)
                     Case: 2:17-cv-01151-JLG-EPD Doc #: 99-1 Filed: 03/31/20 Page: 33 of 44 PAGEID #: 1332


FUNC_DT       ASGN_DISTR   ASGN_SUB_DISTR EMP_NO EMP_NAME                    CC Asgnmt      Pool FUNC_TS             LO_LONG_DESC
  11/1/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)                          11/1/2014 1:12   OFF SICK
  11/3/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO                     11/3/2014 0:02   OFF SICK
  11/3/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO                     11/3/2014 2:58   AVAILABLE
  11/3/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO                     11/3/2014 3:06   AVAILABLE
  11/3/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO                     11/3/2014 3:08   AVAILABLE
  11/3/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO                     11/3/2014 8:10   AVAILABLE
  11/3/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO                     11/3/2014 8:21   AVAILABLE
  11/3/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO   N34C503   PL     11/3/2014 19:05   WORKING
  11/4/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO   N34C503   PL      11/4/2014 9:18   AVAILABLE
  11/4/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO   N34C504   PL     11/4/2014 19:00   WORKING
  11/5/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO   N34C504   PL      11/5/2014 9:21   AVAILABLE
  11/7/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO   C09C507   PL     11/7/2014 11:00   WORKING
  11/8/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO   C09C507   PL      11/8/2014 1:51   AVAILABLE
  11/8/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO                    11/8/2014 10:47   AVAILABLE
  11/8/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO   C61C508   PL     11/8/2014 17:55   WORKING
  11/9/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO   C61C508   PL      11/9/2014 8:45   AVAILABLE
  11/9/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO                     11/9/2014 9:02   OFF SICK
  11/9/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO                     11/9/2014 9:02   AVAILABLE
  11/9/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO                     11/9/2014 9:02   OFF SICK
 11/10/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO                    11/10/2014 8:32   OFF SICK
 11/10/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO                   11/10/2014 17:11   OFF SICK
 11/10/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO   N34C510   PL    11/10/2014 20:26   WORKING
 11/11/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO   N34C510   PL     11/11/2014 9:49   AVAILABLE
 11/11/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO   N34C511   PL    11/11/2014 19:03   WORKING
 11/11/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO                   11/11/2014 19:03   AVAILABLE
 11/12/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO   N34C511   PL     11/12/2014 9:15   AVAILABLE
 11/14/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO   C09C514   PL    11/14/2014 11:00   WORKING
 11/15/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO   C09C514   PL     11/15/2014 1:40   AVAILABLE
 11/15/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO   C61C515   PL    11/15/2014 18:00   WORKING
 11/16/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO   C61C515   PL     11/16/2014 3:19   AVAILABLE
 11/16/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO                   11/16/2014 14:21
 11/16/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO                   11/16/2014 14:21
 11/16/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO                   11/16/2014 14:21   OFF BY PERMISSION
 11/17/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO                    11/17/2014 7:43   OFF BY PERMISSION
 11/17/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO                   11/17/2014 10:04   OFF BY PERMISSION
 11/18/2014   PB           MJ               193866 GASTON, M. K. (MICHAEL)   CO                    11/18/2014 2:49   OFF BY PERMISSION

                                                                                                              EXHIBIT
                                                                                                                     B
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11/18/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                   11/18/2014 9:52   AVAILABLE
11/18/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO   N34C518   PL   11/18/2014 19:02   WORKING
11/19/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO   N34C518   PL    11/19/2014 8:39   AVAILABLE
11/20/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                   11/20/2014 4:47   AVAILABLE
11/21/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO   C09C521   PL   11/21/2014 11:00   WORKING
11/21/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                  11/21/2014 11:12
11/21/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO   C09C521   PL   11/21/2014 11:12   AVAILABLE
11/21/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                  11/21/2014 11:12   AVAILABLE
11/21/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                  11/21/2014 13:24   AVAILABLE
11/21/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                  11/21/2014 15:00   AVAILABLE
11/21/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                  11/21/2014 17:53   AVAILABLE
11/21/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                  11/21/2014 18:06   AVAILABLE
11/22/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                  11/22/2014 15:00   AVAILABLE
11/23/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                   11/23/2014 2:02   AVAILABLE
11/23/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                   11/23/2014 2:03   AVAILABLE
11/23/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                   11/23/2014 2:03   AVAILABLE
11/23/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                   11/23/2014 2:04   AVAILABLE
11/23/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                   11/23/2014 2:05   AVAILABLE
11/23/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20      YD   11/23/2014 13:13   WORKING
11/24/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20      YD    11/24/2014 3:55   AVAILABLE
11/24/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20      YD   11/24/2014 12:26   WORKING
11/25/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20      YD    11/25/2014 3:39   AVAILABLE
11/25/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20      YD   11/25/2014 13:03   WORKING
11/25/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                  11/25/2014 21:38   WORKING
11/25/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                  11/25/2014 21:39   WORKING
11/25/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                  11/25/2014 21:39   WORKING
11/25/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                  11/25/2014 21:39   WORKING
11/25/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                  11/25/2014 21:39   WORKING
11/25/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                  11/25/2014 21:39   WORKING
11/25/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                  11/25/2014 21:39   WORKING
11/25/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                  11/25/2014 21:40   WORKING
11/25/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                  11/25/2014 21:40   WORKING
11/25/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20      YD   11/25/2014 21:59   AVAILABLE
11/26/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                   11/26/2014 5:46   AVAILABLE
11/26/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                   11/26/2014 5:49   AVAILABLE
11/26/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                   11/26/2014 5:51   AVAILABLE
11/26/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20      YD   11/26/2014 13:38   WORKING
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11/27/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20      YD    11/27/2014 3:56   AVAILABLE
11/27/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20      YD   11/27/2014 13:15   WORKING
11/27/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20      YD   11/27/2014 21:04   AVAILABLE
11/28/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                  11/28/2014 15:00   AVAILABLE
11/28/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                  11/28/2014 17:29   AVAILABLE
11/28/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                  11/28/2014 17:51   AVAILABLE
11/29/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                  11/29/2014 10:15   AVAILABLE
11/29/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                  11/29/2014 15:00   AVAILABLE
11/30/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                   11/30/2014 0:39   AVAILABLE
11/30/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                   11/30/2014 0:55   AVAILABLE
11/30/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                   11/30/2014 1:38   AVAILABLE
 12/1/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                   12/1/2014 18:30   AVAILABLE
 12/1/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                   12/1/2014 23:04   AVAILABLE
 12/1/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                   12/1/2014 23:04   AVAILABLE
 12/2/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO   C92C502   ML     12/2/2014 8:02   WORKING
 12/2/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                    12/2/2014 9:30   WORKING
 12/2/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO   C92C502   ML     12/2/2014 9:38   TO-PLACE
 12/2/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                    12/2/2014 9:39   TO-PLACE
 12/3/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                    12/3/2014 6:11   TO-PLACE
 12/3/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                    12/3/2014 6:11   TO-PLACE
 12/3/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                   12/3/2014 12:14   TO-PLACE
 12/4/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO                    12/4/2014 0:11   AVAILABLE
 12/4/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO                    12/4/2014 0:27   AVAILABLE
 12/4/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO   CJ10      YD     12/4/2014 5:35   WORKING
 12/4/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO   CJ10      YD    12/4/2014 14:00   AVAILABLE
 12/4/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO                   12/4/2014 22:37
 12/4/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO                   12/4/2014 22:37   OFF BY PERMISSION
 12/5/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO                    12/5/2014 2:31   OFF BY PERMISSION
 12/5/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO                    12/5/2014 2:40   OFF BY PERMISSION
 12/5/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO                   12/5/2014 11:45   OFF BY PERMISSION
 12/5/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO                   12/5/2014 14:00   AVAILABLE
 12/5/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO                   12/5/2014 17:16   AVAILABLE
 12/6/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO                    12/6/2014 7:01   AVAILABLE
 12/7/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO                    12/7/2014 7:00   AVAILABLE
 12/7/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO                   12/7/2014 14:01   AVAILABLE
 12/7/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO                   12/7/2014 14:01   AVAILABLE
 12/8/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO                    12/8/2014 4:43   AVAILABLE
                  Case: 2:17-cv-01151-JLG-EPD Doc #: 99-1 Filed: 03/31/20 Page: 36 of 44 PAGEID #: 1335


 12/8/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO                 12/8/2014 4:48   AVAILABLE
 12/8/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO   CJ10   YD     12/8/2014 5:31   WORKING
 12/8/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO   CJ10   YD    12/8/2014 17:17   AVAILABLE
 12/9/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO   CJ10   YD     12/9/2014 5:35   WORKING
 12/9/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO   CJ10   YD    12/9/2014 13:59   AVAILABLE
12/10/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO   CJ10   YD    12/10/2014 5:20   WORKING
12/10/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO   CJ10   YD   12/10/2014 13:59   AVAILABLE
12/10/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO               12/10/2014 15:32   TO-PLACE
12/11/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO                12/11/2014 0:49   TO-PLACE
12/11/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO                12/11/2014 4:51   TO-PLACE
12/11/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO                12/11/2014 7:10   TO-PLACE
12/12/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO               12/12/2014 21:40   TO-PLACE
12/12/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO               12/12/2014 21:41   TO-PLACE
12/12/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO               12/12/2014 21:41   TO-PLACE
12/12/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO               12/12/2014 21:41   TO-PLACE
12/12/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO               12/12/2014 23:02   AVAILABLE
12/14/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO               12/14/2014 18:39   TO-PLACE
12/14/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO               12/14/2014 18:55   TO-PLACE
12/14/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO               12/14/2014 22:57   TO-PLACE
12/15/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                12/15/2014 2:58   TO-PLACE
12/15/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                12/15/2014 5:39   TO-PLACE
12/15/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                12/15/2014 5:40   TO-PLACE
12/15/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                12/15/2014 7:00   TO-PLACE
12/15/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                12/15/2014 9:12   TO-PLACE
12/15/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                12/15/2014 9:15   TO-PLACE
12/15/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                12/15/2014 9:16   TO-PLACE
12/15/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                12/15/2014 9:17   TO-PLACE
12/16/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                12/16/2014 8:53   AVAILABLE
12/17/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                12/17/2014 9:36   AVAILABLE
12/17/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ10   YD   12/17/2014 13:38   WORKING
12/17/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ10   YD   12/17/2014 13:59   AVAILABLE
12/18/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ10   YD    12/18/2014 5:05   WORKING
12/18/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ10   YD    12/18/2014 6:12   AVAILABLE
12/18/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ10   YD    12/18/2014 6:12   WORKING
12/18/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ10   YD   12/18/2014 13:59   AVAILABLE
12/18/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW               12/18/2014 14:07   AVAILABLE
12/19/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                12/19/2014 4:55   OFF SICK
                  Case: 2:17-cv-01151-JLG-EPD Doc #: 99-1 Filed: 03/31/20 Page: 37 of 44 PAGEID #: 1336


12/19/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                12/19/2014 5:47   OFF SICK
12/19/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                12/19/2014 6:06   OFF SICK
12/19/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW               12/19/2014 14:00   OFF SICK
12/19/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW               12/19/2014 20:17   OFF SICK
12/20/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)                     12/20/2014 7:00   AVAILABLE
12/21/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                12/21/2014 7:00   AVAILABLE
12/21/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW               12/21/2014 20:41   TO-PLACE
12/21/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW               12/21/2014 20:58   TO-PLACE
12/22/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                12/22/2014 0:23   TO-PLACE
12/22/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW               12/22/2014 22:30   AVAILABLE
12/23/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20   YD   12/23/2014 15:21   WORKING
12/23/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20   YD   12/23/2014 20:54   AVAILABLE
12/24/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20   YD   12/24/2014 12:00   AVAILABLE
12/25/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20   YD   12/25/2014 11:41   AVAILABLE
12/26/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW               12/26/2014 15:00   AVAILABLE
12/27/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW               12/27/2014 15:00   AVAILABLE
12/28/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20   YD   12/28/2014 12:14   WORKING
12/28/2014   PB      CW               193866   GASTON, M. K.   (MICHAEL)   SW               12/28/2014 15:53   WORKING
12/28/2014   PB      CW               193866   GASTON, M. K.   (MICHAEL)   SW               12/28/2014 15:53   WORKING
12/29/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20   YD    12/29/2014 3:07   AVAILABLE
12/29/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20   YD   12/29/2014 13:55   WORKING
12/30/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20   YD    12/30/2014 3:44   AVAILABLE
12/30/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW               12/30/2014 11:23   OFF SICK
12/30/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW               12/30/2014 11:23   AVAILABLE
12/30/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW               12/30/2014 23:25   OFF SICK
12/31/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                12/31/2014 3:57   AVAILABLE
12/31/2014   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20   YD   12/31/2014 13:29   AVAILABLE
  1/1/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20   YD     1/1/2015 13:29   WORKING
  1/1/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20   YD     1/1/2015 17:28   AVAILABLE
  1/1/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                 1/1/2015 17:28   OFF SICK
  1/2/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                  1/2/2015 4:46   OFF SICK
  1/2/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                 1/2/2015 15:00   OFF SICK
  1/3/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                  1/3/2015 3:14   OFF SICK
  1/3/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                 1/3/2015 15:00   AVAILABLE
  1/4/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20   YD     1/4/2015 13:16   WORKING
  1/5/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20   YD      1/5/2015 1:59   AVAILABLE
  1/5/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   SW                  1/5/2015 8:25   AVAILABLE
                 Case: 2:17-cv-01151-JLG-EPD Doc #: 99-1 Filed: 03/31/20 Page: 38 of 44 PAGEID #: 1337


 1/5/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   SW                    1/5/2015 8:33   AVAILABLE
 1/5/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                   1/5/2015 13:25   AVAILABLE
 1/5/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20      YD    1/5/2015 14:15   WORKING
 1/6/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20      YD     1/6/2015 3:52   AVAILABLE
 1/6/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                    1/6/2015 3:58   AVAILABLE
 1/6/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                   1/6/2015 10:44   AVAILABLE
 1/6/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20      YD    1/6/2015 14:12   WORKING
 1/7/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                    1/7/2015 3:57   WORKING
 1/7/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20      YD     1/7/2015 3:58   AVAILABLE
 1/7/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                   1/7/2015 13:56   AVAILABLE
 1/7/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20      YD    1/7/2015 13:56   WORKING
 1/7/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                   1/7/2015 23:05   WORKING
 1/7/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20      YD    1/7/2015 23:05   AVAILABLE
 1/8/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                    1/8/2015 1:09   AVAILABLE
 1/8/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                   1/8/2015 12:43   OFF BEREAVEMENT
 1/8/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                   1/8/2015 12:44
 1/8/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                   1/8/2015 22:14   OFF BEREAVEMENT
 1/9/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                   1/9/2015 15:00   OFF BEREAVEMENT
1/10/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                   1/10/2015 1:50   OFF BEREAVEMENT
1/10/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   SW                   1/10/2015 9:26   OFF BEREAVEMENT
1/10/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   SW                   1/10/2015 9:38   OFF BEREAVEMENT
1/10/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   SW                  1/10/2015 11:27   OFF BEREAVEMENT
1/10/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                  1/10/2015 11:30   OFF BEREAVEMENT
1/11/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   CO                  1/11/2015 19:13   OFF BEREAVEMENT
1/12/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   CO                  1/12/2015 15:28   OFF BEREAVEMENT
1/12/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   CO                  1/12/2015 16:15   AVAILABLE
1/12/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   CO                  1/12/2015 18:43   AVAILABLE
1/13/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   CO                   1/13/2015 1:55   AVAILABLE
1/13/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   CO                   1/13/2015 4:42   WORKING
1/13/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   CO                   1/13/2015 4:42   AVAILABLE
1/13/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   CO   X81C313   CT    1/13/2015 4:44   WORKING
1/13/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   CO   X81C313   CT   1/13/2015 11:54   AVAILABLE
1/14/2015   DB      TE               193866   GASTON, M. K.   (MICHAEL)   CO   I6EB113   TW    1/14/2015 5:33   WORKING
1/14/2015   DB      TE               193866   GASTON, M. K.   (MICHAEL)   CO   I6EB113   TW   1/14/2015 15:39   AVAILABLE
1/15/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                   1/15/2015 1:59   AVAILABLE
1/15/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   CO                  1/15/2015 19:06   WORKING
1/15/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   CO   21MC315   CT   1/15/2015 19:07   WORKING
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1/15/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   CO   21MC315   CT   1/15/2015 21:23   AVAILABLE
1/15/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   CO   23MC315   CT   1/15/2015 21:24   WORKING
1/16/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   CO   23MC315   CT    1/16/2015 4:39   AVAILABLE
1/16/2015   DB      TE               193866   GASTON, M. K.   (MICHAEL)   CO   66WB116   TW   1/16/2015 21:15   WORKING
1/17/2015   DB      TE               193866   GASTON, M. K.   (MICHAEL)   CO   66WB116   TW    1/17/2015 6:25   AVAILABLE
1/18/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   CO                  1/18/2015 17:38   AVAILABLE
1/19/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)                        1/19/2015 4:37   AVAILABLE
1/19/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)                        1/19/2015 9:44   WORKING
1/19/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)        I1ZC318   CT    1/19/2015 9:46   WORKING
1/19/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)        I1ZC318   CT   1/19/2015 21:28   AVAILABLE
1/19/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)                       1/19/2015 23:00   PERS-LEAVE-DAY
1/20/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   CO                  1/20/2015 13:06   PERS-LEAVE-DAY
1/20/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   CO                  1/20/2015 13:06   PERS-LEAVE-DAY
1/20/2015   DB      TE               193866   GASTON, M. K.   (MICHAEL)   CO   474B120   TW   1/20/2015 20:30   WORKING
1/21/2015   DB      TE               193866   GASTON, M. K.   (MICHAEL)   CO   474B120   TW    1/21/2015 2:20   AVAILABLE
1/21/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   CO                  1/21/2015 12:03   AVAILABLE
1/21/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   CO                  1/21/2015 21:20   OFF SICK
1/22/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   CO                  1/22/2015 12:42   OFF SICK
1/22/2015   DB      TE               193866   GASTON, M. K.   (MICHAEL)   CO                  1/22/2015 14:36   AVAILABLE
1/23/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   CO                   1/23/2015 4:32   AVAILABLE
1/23/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   CO                  1/23/2015 17:21   AVAILABLE
1/24/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   CO                   1/24/2015 0:03   PERS-LEAVE-DAY
1/25/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   CO                   1/25/2015 0:03   OFF WITHOUT PRM
1/25/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   CO                   1/25/2015 0:16   OFF WITHOUT PRM
1/25/2015   DB      TE               193866   GASTON, M. K.   (MICHAEL)   CO                   1/25/2015 4:16   AVAILABLE
1/25/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                  1/25/2015 12:46   AVAILABLE
1/26/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   CO                  1/26/2015 10:19   AVAILABLE
1/27/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   CO                   1/27/2015 1:01   AVAILABLE
1/27/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   CO                   1/27/2015 1:02   AVAILABLE
1/27/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   CO                  1/27/2015 17:45   AVAILABLE
1/27/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   CO                  1/27/2015 18:49   WORKING
1/27/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   CO   35NC327   CT   1/27/2015 18:52   WORKING
1/28/2015   PB      CW               193866   GASTON, M. K.   (MICHAEL)   CO   35NC327   CT    1/28/2015 9:41   AVAILABLE
1/28/2015   DB      TE               193866   GASTON, M. K.   (MICHAEL)   CO   18AB128   TW   1/28/2015 23:04   WORKING
1/29/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                   1/29/2015 9:31   WORKING
1/29/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                   1/29/2015 9:32   WORKING
1/29/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                   1/29/2015 9:44   WORKING
                 Case: 2:17-cv-01151-JLG-EPD Doc #: 99-1 Filed: 03/31/20 Page: 40 of 44 PAGEID #: 1339


1/29/2015   DB      TE               193866   GASTON, M. K.   (MICHAEL)   CO 18AB128     TW    1/29/2015 9:45   AVAILABLE
1/30/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO C06C530     PL    1/30/2015 2:54   WORKING
1/30/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO C06C530     PL   1/30/2015 17:14   AVAILABLE
1/31/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)                        1/31/2015 8:53   AVAILABLE
1/31/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)                        1/31/2015 9:04   AVAILABLE
1/31/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)                        1/31/2015 9:06   AVAILABLE
1/31/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)                       1/31/2015 10:10   AVAILABLE
 2/2/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO   C06C502   PL     2/2/2015 3:07   WORKING
 2/2/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO   C06C502   PL    2/2/2015 17:00   AVAILABLE
 2/3/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO   C06C503   PL     2/3/2015 3:05   WORKING
 2/3/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO   C06C503   PL    2/3/2015 17:49   AVAILABLE
 2/4/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                    2/4/2015 2:53   AVAILABLE
 2/4/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO   C06C504   PL     2/4/2015 2:53   WORKING
 2/4/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                    2/4/2015 9:42   WORKING
 2/4/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                   2/4/2015 13:05   WORKING
 2/4/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO   C06C504   PL    2/4/2015 13:06   TO-PLACE
 2/6/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                    2/6/2015 9:16   AVAILABLE
 2/6/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                   2/6/2015 16:46   AVAILABLE
 2/6/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                   2/6/2015 18:29   AVAILABLE
 2/7/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                    2/7/2015 7:00   AVAILABLE
 2/7/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                   2/7/2015 10:06   AVAILABLE
 2/8/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                    2/8/2015 7:01   AVAILABLE
 2/9/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ10      YD     2/9/2015 5:23   WORKING
 2/9/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ10      YD    2/9/2015 14:00   AVAILABLE
2/10/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ10      YD    2/10/2015 4:07   WORKING
2/10/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                  2/10/2015 11:20   WORKING
2/10/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                  2/10/2015 13:58   WORKING
2/10/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ10      YD   2/10/2015 13:59   TO-PLACE
2/12/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                   2/12/2015 9:17   AVAILABLE
2/12/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                  2/12/2015 15:58   OFF BY PERMISSION
2/13/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                   2/13/2015 8:31   OFF BY PERMISSION
2/13/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                  2/13/2015 18:26   OFF BY PERMISSION
2/13/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                  2/13/2015 19:43   OFF BY PERMISSION
2/14/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                   2/14/2015 7:34   OFF BY PERMISSION
2/14/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                   2/14/2015 8:32   TO-PLACE
2/16/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                   2/16/2015 0:07   AVAILABLE
2/16/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                   2/16/2015 0:08   AVAILABLE
                 Case: 2:17-cv-01151-JLG-EPD Doc #: 99-1 Filed: 03/31/20 Page: 41 of 44 PAGEID #: 1340


2/16/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20   YD   2/16/2015 13:05   WORKING
2/16/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20   YD   2/16/2015 21:59   AVAILABLE
2/17/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20   YD   2/17/2015 13:54   WORKING
2/17/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20   YD   2/17/2015 21:59   AVAILABLE
2/18/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                2/18/2015 9:08   AVAILABLE
2/18/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW               2/18/2015 10:48   AVAILABLE
2/18/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW               2/18/2015 10:48   AVAILABLE
2/18/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20   YD   2/18/2015 13:46   WORKING
2/18/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20   YD   2/18/2015 22:00   AVAILABLE
2/19/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20   YD   2/19/2015 12:35   WORKING
2/19/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20   YD   2/19/2015 21:59   AVAILABLE
2/20/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                2/20/2015 3:11   AVAILABLE
2/20/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                2/20/2015 3:11   AVAILABLE
2/20/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                2/20/2015 6:01   AVAILABLE
2/20/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                2/20/2015 6:01   AVAILABLE
2/20/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW               2/20/2015 15:00   AVAILABLE
2/21/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW               2/21/2015 15:00   AVAILABLE
2/22/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW               2/22/2015 10:14
2/22/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW               2/22/2015 10:14   OFF BEREAVEMENT
2/22/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW               2/22/2015 20:55   OFF BEREAVEMENT
2/23/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW               2/23/2015 13:39   OFF BEREAVEMENT
2/23/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW               2/23/2015 13:46   OFF BEREAVEMENT
2/23/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW               2/23/2015 22:48   OFF BEREAVEMENT
2/24/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW               2/24/2015 10:51   OFF BEREAVEMENT
2/24/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW               2/24/2015 10:52   OFF BEREAVEMENT
2/24/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW               2/24/2015 13:40   OFF BEREAVEMENT
2/24/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20   YD   2/24/2015 13:40   WORKING
2/24/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20   YD   2/24/2015 22:04   AVAILABLE
2/25/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20   YD   2/25/2015 14:03   WORKING
2/25/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW               2/25/2015 23:15   WORKING
2/25/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20   YD   2/25/2015 23:15   AVAILABLE
2/26/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20   YD   2/26/2015 12:35   WORKING
2/26/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ20   YD   2/26/2015 22:01   AVAILABLE
2/27/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW               2/27/2015 12:41   AVAILABLE
2/27/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW               2/27/2015 15:00   AVAILABLE
2/28/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                2/28/2015 8:46   AVAILABLE
2/28/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                2/28/2015 9:45   AVAILABLE
                 Case: 2:17-cv-01151-JLG-EPD Doc #: 99-1 Filed: 03/31/20 Page: 42 of 44 PAGEID #: 1341


2/28/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                   2/28/2015 9:46   AVAILABLE
2/28/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                  2/28/2015 10:02   AVAILABLE
2/28/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                  2/28/2015 22:46   AVAILABLE
 3/1/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO   C21C527   ML     3/1/2015 6:24   WORKING
 3/1/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO   C21C527   ML     3/1/2015 6:43   AVAILABLE
 3/1/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO   C94C532   ML     3/1/2015 6:48   WORKING
 3/1/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO   C94C532   ML     3/1/2015 8:27   AVAILABLE
 3/1/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                   3/1/2015 10:46   AVAILABLE
 3/1/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                   3/1/2015 13:50   AVAILABLE
 3/2/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO   C19C502   ML    3/2/2015 19:00   WORKING
 3/3/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO   C19C502   ML     3/3/2015 8:46   AVAILABLE
 3/3/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO                    3/3/2015 9:53   AVAILABLE
 3/3/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   CO   C19C503   ML    3/3/2015 19:04   WORKING
 3/4/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                    3/4/2015 0:04   WORKING
 3/4/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                    3/4/2015 2:39   WORKING
 3/4/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   C19C503   ML     3/4/2015 8:35   AVAILABLE
 3/4/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                   3/4/2015 14:00   AVAILABLE
 3/4/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                   3/4/2015 16:40   OFF JURY DUTY
 3/5/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                   3/5/2015 12:40   OFF JURY DUTY
 3/5/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                   3/5/2015 14:02   AVAILABLE
 3/6/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                    3/6/2015 4:31   AVAILABLE
 3/6/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ10      YD     3/6/2015 5:42   WORKING
 3/6/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW   CJ10      YD    3/6/2015 13:59   AVAILABLE
 3/7/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                    3/7/2015 7:00   AVAILABLE
 3/8/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                    3/8/2015 7:00   AVAILABLE
 3/8/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                   3/8/2015 10:12   AVAILABLE
 3/8/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW                   3/8/2015 19:19   AVAILABLE
 3/9/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO                    3/9/2015 0:06   AVAILABLE
 3/9/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO                    3/9/2015 0:23   AVAILABLE
 3/9/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO   CJ10      YD     3/9/2015 5:19   WORKING
 3/9/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO   CJ10      YD    3/9/2015 15:23   AVAILABLE
3/10/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO   CJ10      YD    3/10/2015 4:50   WORKING
3/10/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO   CJ10      YD   3/10/2015 14:02   AVAILABLE
3/11/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO                   3/11/2015 0:38   AVAILABLE
3/11/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO                   3/11/2015 1:50   AVAILABLE
3/11/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO   CJ10      YD    3/11/2015 5:39   WORKING
3/11/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO   CJ10      YD   3/11/2015 13:59   AVAILABLE
                 Case: 2:17-cv-01151-JLG-EPD Doc #: 99-1 Filed: 03/31/20 Page: 43 of 44 PAGEID #: 1342


3/12/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO   CJ10   YD    3/12/2015 5:53   WORKING
3/12/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO   CJ10   YD   3/12/2015 14:00   AVAILABLE
3/13/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO   CJ10   YD    3/13/2015 5:40   WORKING
3/13/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO   CJ10   YD   3/13/2015 14:02   AVAILABLE
3/14/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)                     3/14/2015 7:00   AVAILABLE
3/15/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO                3/15/2015 7:00   AVAILABLE
3/15/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO               3/15/2015 23:15   RULES-TRAINING
3/16/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO               3/16/2015 17:19   RULES-TRAINING
3/16/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO               3/16/2015 18:31
3/16/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO               3/16/2015 18:31
3/16/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO               3/16/2015 18:37   RULES-TRAINING
3/17/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO   CJ10   YD    3/17/2015 4:56   WORKING
3/17/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO   CJ10   YD   3/17/2015 13:59   AVAILABLE
3/18/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO   CJ10   YD    3/18/2015 7:49   WORKING
3/18/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO   CJ10   YD   3/18/2015 13:59   AVAILABLE
3/19/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO   CJ10   YD    3/19/2015 6:07   WORKING
3/19/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO   CJ10   YD   3/19/2015 14:01   AVAILABLE
3/20/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO                3/20/2015 4:31   OFF SICK
3/20/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO                3/20/2015 4:31   AVAILABLE
3/20/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO                3/20/2015 7:06   OFF SICK
3/20/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO               3/20/2015 15:10   OFF SICK
3/20/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO               3/20/2015 17:16   OFF SICK
3/21/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO                3/21/2015 7:00   AVAILABLE
3/22/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO                3/22/2015 7:00   AVAILABLE
3/23/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO   CJ10   YD    3/23/2015 5:12   WORKING
3/23/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO   CJ10   YD   3/23/2015 15:11   AVAILABLE
3/24/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO   CJ10   YD    3/24/2015 5:53   WORKING
3/24/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO                3/24/2015 7:30   WORKING
3/24/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO   CJ10   YD   3/24/2015 14:00   AVAILABLE
3/25/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO   CJ10   YD    3/25/2015 5:59   WORKING
3/25/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO   CJ10   YD   3/25/2015 14:00   AVAILABLE
3/26/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO   CJ10   YD    3/26/2015 5:59   WORKING
3/26/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO   CJ10   YD   3/26/2015 14:00   AVAILABLE
3/27/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO   CJ10   YD    3/27/2015 6:15   WORKING
3/27/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO               3/27/2015 12:23   WORKING
3/27/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO               3/27/2015 13:57   WORKING
3/27/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO   CJ10   YD   3/27/2015 13:59   TO-PLACE
                 Case: 2:17-cv-01151-JLG-EPD Doc #: 99-1 Filed: 03/31/20 Page: 44 of 44 PAGEID #: 1343


3/29/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO              3/29/2015 9:40   AVAILABLE
3/29/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO             3/29/2015 14:03   AVAILABLE
3/29/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   FO             3/29/2015 14:03   AVAILABLE
3/30/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW              3/30/2015 4:10   OFF SICK
3/30/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW              3/30/2015 4:10   AVAILABLE
3/30/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW             3/30/2015 14:58   OFF SICK
3/30/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW             3/30/2015 17:50   OFF SICK
3/30/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW             3/30/2015 22:39   AVAILABLE
3/31/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW CJ10   YD    3/31/2015 4:34   WORKING
3/31/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW              3/31/2015 8:06   WORKING
3/31/2015   PB      MJ               193866   GASTON, M. K.   (MICHAEL)   SW CJ10   YD   3/31/2015 13:59   AVAILABLE
